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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


JACK MONTAGUE                                        :
                                                     :
       Plaintiff                                     :               CIVIL ACTION NO.:
                                                     :               3:16-CV-00885-AVC
vs.                                                  :
                                                     :
YALE UNIVERSITY, ET AL                               :
                                                     :
       Defendants                                    :               MAY 17, 2018

              MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                    MOTION FOR SUMMARY JUDGMENT

       The plaintiff brought this action two years ago, claiming that his expulsion was the result

of discrimination against him because of his male gender. Since filing the action, the plaintiff

has required the defendants to search the electronic data of 23 individuals, resulting in the

production of literally tens of thousands of pages of documents. The plaintiff also took the

depositions of nine different individuals and engaged two expert witnesses. What the plaintiff

has failed to do is to unearth even a scintilla of evidence of any discriminatory motive on the part

of any of the defendants’ representatives.

       The plaintiff was expelled by Yale University as a result of engaging in penetrative

sexual intercourse without consent in violation of Yale’s Sexual Misconduct Policies. Those

policies, which even the plaintiff’s expert witness testified comply with federal law and which

are mandated by Connecticut state law, set forth a comprehensive process for adjudicating

complaints of sexual misconduct. Once a complaint is filed, the University-Wide Committee on

Sexual Misconduct (“UWC”) appoints an impartial, experienced fact finder to assemble relevant

documents and interview appropriate witnesses. Both the complainant and the respondent are

interviewed by the fact finder, as well as individuals suggested by the parties. The fact finder



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thereafter prepares a written report, which is transmitted to the parties and to the UWC hearing

panel, a group of five members of the Yale community appointed to adjudicate the particular

case. The UWC Panel then conducts a hearing at which both parties testify. At the conclusion

of that hearing, the UWC Panel prepares a report consisting of factual findings, conclusions, and

recommendations. The UWC Panel report is then transmitted to the decision maker, who in this

case was Dean Jonathan Holloway. The decision maker is required to accept the Panel’s

findings of fact, but is free to alter the conclusions and recommended sanction. Thereafter, either

party may file an appeal with the Provost.

       In the present case, after a careful review of all the evidence, the five members of the

UWC Panel, including the two male members, unanimously concluded that the plaintiff had

violated the Sexual Misconduct Policies by engaging in penetrative sexual intercourse without

consent. The UWC Panel unanimously recommended that the plaintiff be expelled because of

the severity of the offense and because this was the plaintiff’s third violation of Yale’s

disciplinary rules. As in the first two disciplinary infractions, the plaintiff’s violation occurred in

the context of his heavy consumption of alcohol. Furthermore, at the time of the sexual assault

on Jane Roe, the plaintiff was on probation from a prior incident of sexual misconduct, for which

he had been required to receive both alcohol counseling and sexual harassment and gender

sensitivity training. Dean Holloway, a male, accepted the Panel’s conclusion and recommended

penalty. Provost Benjamin Polak, another male, thereafter denied the plaintiff’s appeal.

       Significantly, and as will be discussed in greater detail below, the plaintiff agreed to the

following facts:

          The UWC Panel was charged with the responsibility of looking at all of the
           evidence and reaching a conclusion as to whether the account of the plaintiff
           or that of Ms. Roe was more accurate, credible, and consistent.




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   The plaintiff had given inconsistent statements to the fact finder and to the
    UWC Panel, telling the former that he had obtained consent for intercourse
    verbally and telling the latter that the consent was obtained non-verbally
    through the conduct of Ms. Roe.

   The plaintiff initially testified at his deposition that he had provided “untrue”
    information to the fact finder and the UWC Panel, and he later amended this
    to state that some of the information was “inaccurate.” He also acknowledged
    that he had “forgotten” many details of his interaction with Ms. Roe,
    ultimately being unable to remember much other than that he was certain he
    had somehow obtained consent.

   The plaintiff understood, even prior to the night in question, that he needed
    specific consent for each sexual act during a sexual encounter, and that
    consent obtained during a prior interaction would not imply consent for a
    subsequent interaction.

   If Ms. Roe had in fact, as she alleged, twice told the plaintiff prior to going to
    his bedroom, that she was willing to “hook up but not have sex,” that would
    mean he did not have consent for intercourse on the night in question.

   Ms. Roe told the fact finder and the UWC Panel that immediately before
    intercourse she told the plaintiff “no,” but despite her protest, he forced
    himself on her and then later apologized, acknowledging that he was aware
    that she had not wanted to engage in intercourse. The plaintiff admitted that if
    the UWC Panel found that Ms. Roe’s version of the interaction was more
    accurate than his, then it would have been appropriate for the UWC Panel to
    conclude that the plaintiff had violated Yale’s Sexual Misconduct Policies.

Plaintiff’s expert witness offered the following testimony at her deposition:

   Yale’s UWC process is entirely consistent with federal law.

   Both federal law and Yale’s UWC Policies require that there be affirmative
    consent for each stage in a sexual interaction.

   In attempting to determine which of the two individuals was more credible, it
    was proper for the UWC Panel to consider whether one of the parties had
    made inconsistent statements about consent; whether one of the parties had
    changed his testimony with regard to how he obtained consent; whether one of
    the parties had completely forgotten parts of the evening in question, and
    whether one of the parties had consumed more alcohol than the other.

   If, as Ms. Roe testified, she had indicated twice before entering the plaintiff’s
    bedroom that she was willing to “hook up but not have sex,” and then, as the
    plaintiff began to penetrate her, she stated that she did not want intercourse,



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                and then immediately after intercourse the plaintiff apologized saying that he
                knew she did not want that, then the UWC Panel could logically conclude that
                the plaintiff did not have consent for intercourse, and that he engaged in
                intercourse despite knowing that he did not have consent.

               Dean Holloway appropriately declined the plaintiff’s request that he be given
                a second hearing.

               Provost Polak properly denied the appeal since the plaintiff had not
                established any of the grounds upon which an appeal could be granted under
                Yale’s Sexual Misconduct Policies.

           In short, as both the plaintiff and his expert witness have testified, the UWC Panel was

vested with the discretion to credit the testimony of Ms. Roe over that of the plaintiff, and there

was more than ample reason for the UWC Panel to conclude as it did. Given those facts, and in

the absence of any evidence of discrimination, summary judgment should enter in favor of the

defendants.

I.         Factual Background

           This case arises out of the expulsion of the plaintiff after Yale’s UWC Panel concluded

that he had violated Yale’s Sexual Misconduct Policies. The essence of the charge, filed with the

UWC on November 18, 2015 by Senior Deputy Title IX Coordinator Jason Killheffer, was that

the plaintiff had engaged in sexual intercourse with another student, Jane Roe, without her

consent.1 (Ex. A.) Ms. Roe stated that she had agreed to some sexual contact on the evening in

question, but that she had specifically told the plaintiff three different times that she did not want

to engage in intercourse, twice before entering his bedroom and again just before he penetrated

her. She further stated that, despite her protests, he forced himself on her and then later

apologized, and acknowledged that he was aware that she did not want to engage in intercourse.

(Ex. B, p.4-5; Ex. C, p. 3.) It is undeniable that, if the events occurred as reported by Ms. Roe



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    All exhibits referenced herein are attached to the Affidavit of Patrick M. Noonan.


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and ultimately found by the UWC Panel, then the plaintiff violated Yale’s Sexual Misconduct

Policies and expulsion was an appropriate remedy.

       While Ms. Roe at all times has acknowledged that she told the plaintiff on two separate

occasions before entering the bedroom that she was “willing to hook up but not have sex,” there

can be no claim that Ms. Roe’s agreement to engage in some sexual contact on the night in

question meant that she had also consented to intercourse; nor can it be claimed that her consent

to sexual intercourse on a previous date can be used in place of actual consent on October 18,

2014. Yale’s Sexual Misconduct Policies specifically preclude any such argument: “Consent to

some sexual acts does not constitute consent to others, nor does past consent to a given act

constitute present or future consent.” (Ex. D, p. 3.)

       The complaint was adjudicated pursuant to Yale’s Procedures Governing the University-

Wide Committee on Sexual Misconduct. (Ex. E.) The disciplinary process began with an

investigation conducted by an impartial fact-finder who interviewed the plaintiff and Ms. Roe, as

well as five other witnesses. (Ex. B.) The next step in the process was to convene a hearing on

January 21, 2016 before a UWC Panel consisting of five members. (Ex. C.) At the conclusion

of the hearing, the Panel unanimously determined that Ms. Roe had provided a full, detailed, and

consistent account of the events of the night in question, which was supported by the testimony

of several witnesses. The Panel further unanimously found that the plaintiff’s selective and

shifting recollection of the events of that night and his conflicting statements as to how he

obtained Ms. Roe’s consent rendered his account not credible. Specifically, the Panel noted that

the plaintiff told the fact-finder that Ms. Roe had verbally agreed to intercourse, but he later

contradicted that statement when he told the UWC Panel that the consent was non-verbal. The

Panel also noted that the plaintiff had consumed alcohol on the night in question, but that neither




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he nor Ms. Roe suggested that Ms. Roe was intoxicated.2 The Panel specifically found that Ms.

Roe’s account of the interaction was more credible, both because she had provided consistent

statements as to the events at issue and also because she was not intoxicated or otherwise

impaired in any way that would have affected her recollection of those events. (Ex. C, p. 6, 8-9.)

         The Panel also noted that Ms. Roe’s account was supported by five witnesses and

contemporaneous text messages. The Panel observed that, in addition to providing conflicting

reports at different times as to how he obtained consent, the plaintiff remembered almost nothing

of the interaction with Ms. Roe, except that somehow he had obtained consent. Ms. Roe, on the

other hand, was able to provide a very detailed and consistent recollection of the entire evening.

Remarkably, the plaintiff reported to the fact finder that he and Ms. Roe spent the entire night

together in his bed; he forgot that he had left Ms. Roe by herself after the intercourse while he

attended a party. The Panel was shown evidence in the form of an electronic trail of card

swiping which demonstrated that the two individuals separated for a substantial period of time

following the intercourse. (Ex. B, p.10; C, p. 6-9.) Having determined that Ms. Roe was

credible and that the plaintiff was not, the Panel unanimously concluded that the plaintiff had

engaged in non-consensual sexual intercourse, which is a clear violation of Yale’s Sexual

Misconduct Policy. The Panel then unanimously recommended to Dean Jonathan Holloway that

the plaintiff be expelled. (Ex. C, p. 9-10; Ex. G, H, I, J, ¶ 3; Ex. K, ¶ 11.)

         There was nothing arbitrary or capricious about the Panel concluding that Ms. Roe was

credible; indeed, the plaintiff himself attested to Ms. Roe’s sincerity. In his response to the UWC

Panel’s report, the plaintiff wrote: “There is no question that Ms. [Roe] honestly believes I took

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  The Yale College Undergraduate Regulations provide that intoxication is not a defense to a charge of misconduct: “[S]tudents
will be held fully responsible for their own behavior, even when acting under the influence of alcoholic beverages. Infractions of
the alcohol regulations as well as any alcohol-related behavior that violates the Undergraduate Regulations will be subject to
disciplinary action by the appropriate University officials. In such cases, the association of alcoholic beverages with problem
behavior will not be seen as a mitigating factor and may be seen as an exacerbating factor.” (Ex. F, p. 52.)



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advantage of her on October 18, 2014. I do not doubt the sincerity of her beliefs as of November,

2015, more than a year after the incident.” (Ex. L, p. 1.) The plaintiff affirmed the truth of these

statements at his deposition, and agreed that he believed that Ms. Roe “honestly believes that [I]

took advantage of her and penetrated her without consent.” (Ex. M, Depo. p. 163-164.) On

February 10, 2016, Dean Holloway accepted the Panel’s findings, conclusions, and

recommended penalty of expulsion. (Ex. N.) The plaintiff appealed this decision, and his appeal

was denied by Provost Polak on February 24, 2016. (Ex. O, P.)

       The plaintiff’s expulsion was the third time he had received discipline at Yale for

misconduct. In May 2013, while standing outside a New Haven pizza parlor with several other

students, including Sally Smith, he rolled up a used paper pizza plate and shoved it down the

front of Ms. Smith’s tank top between her breasts. Ms. Smith filed a complaint with the UWC,

which investigated and held a hearing. (Ex. Q, R, S.) (Because it predated the case involving

Ms. Roe, Ms. Smith’s complaint is referred to in the Amended Complaint and here as “UWC I,”

and the complaint involving Ms. Roe is called “UWC II.”) In his written response to the

complaint, the plaintiff admitted that he was “probably drunk” at the time of the incident and

stated, “I am completely ashamed of myself, and I take full responsibility for my actions that

night.” (Ex. T.) The UWC I Panel agreed with the plaintiff that he had violated Yale’s Sexual

Misconduct Policies and recommended that he be placed on probation for four semesters. He

was also required to enroll in sexual harassment and gender sensitivity training at Yale’s Sexual

Harassment and Assault Response and Education Center (“SHARE”) and alcohol counseling.

(Ex. S, p. 3.) The plaintiff did not appeal the Dean’s decision to accept the UWC Panel’s

findings, conclusions, and recommended penalty. (Ex. U.)




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       The second disciplinary matter involving the plaintiff occurred in September 2015, when

he received a reprimand from the Yale College Executive Committee based on a complaint filed

by Yale Chief of Police Ronnell Higgins alleging that the plaintiff had interfered with a police

investigation. (Ex. V, W, X.) As in UWC I, the plaintiff acknowledged that he was very drunk

at the time of the incident, and he did not contest the allegations against him. (Ex. Y.) It is

significant that the plaintiff was under the influence of alcohol all three times that he was found

to have violated Yale’s policies, and he has acknowledged that Yale’s policies stipulate that

alcohol cannot be considered a mitigating factor, and in fact may be seen as an exacerbating

factor. (Ex. M, Depo. p. 69-70; Ex. F, p. 52.)

II.    Legal Standard

       A.      Summary Judgment

       Summary judgment is appropriate where the moving party demonstrates that there is no

genuine dispute as to any material fact and the moving party is entitled to judgment as a matter

of law. Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). The moving party bears the initial burden of

showing that no genuine factual dispute exists. Carlton v. Mystic Transp., Inc., 202 F.3d 129,

133 (2d Cir. 2000), cert. denied, 530 U.S. 1261 (2000). However, the Second Circuit has noted:

“A defendant need not prove a negative when it moves for summary judgment on an issue that

the plaintiff must prove at trial. It need only point to an absence of proof on the plaintiff’s part,

and, at that point, plaintiff must designate specific facts showing that there is a genuine issue for

trial.” (Internal quotation marks and citations omitted.) Parker v. Sony Pictures Entm’t, Inc.,

260 F.3d 100, 111 (2d Cir. 2001).




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       Once the moving party carries its initial burden, the nonmoving party must then go

beyond the pleadings and “set forth specific facts showing that there is a genuine issue for trial.”

Fed. R. Civ. P. 56(e); Celotex Corp., 477 U.S. at 324; Goenaga v. March of Dimes Birth Defects

Found., 51 F.3d 14, 18 (2d Cir. 1995). “[T]he mere existence of some alleged factual dispute

between the parties will not defeat an otherwise properly supported motion for summary

judgment; the requirement is that there be no genuine issue of material fact.” Anderson, 477

U.S. at 247-48. Whether a fact is “material” depends on the substantive law of the claim; “[o]nly

disputes over facts that might affect the outcome of the suit under the governing law will

properly preclude the entry of summary judgment.” Id. at 248. To present a “genuine” issue of

material fact, there must be contradictory evidence “such that a reasonable jury could return a

verdict for the non-moving party.” Goins v. Bridgeport Hosp., 2013 U.S. Dist. LEXIS 41160 *8-

9 (D.Conn. Mar. 25, 2013), quoting, Anderson, 477 U.S. at 248. Evidence that is “merely

colorable” or is not “significantly probative” is insufficient to defeat a properly supported motion

for summary judgment. Id., quoting, Anderson, 477 U.S. at 256. The “non-moving party may

not rely on conclusory allegations or unsubstantiated speculation.” (Internal quotations omitted.)

Byrnie v. Town of Cromwell Board of Education, 243 F.3d 93, 101 (2d Cir. 2001).

       B.      Deference Owed to Disciplinary Decisions of Educational Institutions

       Both federal and state courts have repeatedly recognized that an educational institution’s

disciplinary decisions should be given deference by the courts. The United States Supreme

Court has itself expressly enjoined that “courts should refrain from second-guessing the

disciplinary decisions made by school administrators.” Davis v. Monroe Cty. Bd. of Educ., 526

U.S. 629, 648 (1999). See also, Doe v. Trs. of Boston Coll., 2016 U.S. Dist. LEXIS 137777 *60

(D. Mass. Oct. 4, 2016) (“the courts must recognize and respect the strong interest of a private




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university in managing its own affairs”), Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 572 (D.

Mass. 2016) (“[I]t is not generally the role of the federal courts to tell a private university how to

conduct its affairs.”); Charest v. President of Harvard Coll., 2016 U.S. Dist. LEXIS 18493 *51

n.9 (D. Mass. Feb. 16, 2016) (“courts are chary about interfering with academic and disciplinary

decisions made by private colleges and universities”).

       In Doe v. Brown University, 210 F. Supp. 3d 310, 331 (D.R.I. 2016), the district court

explained: “To be perfectly clear, a student is not entitled to a perfect disciplinary process, and it

is not the Court’s role to be an appeals court for [the university’s] disciplinary decisions.” See

also, Ruggiero v. Yale Univ., 2007 U.S. Dist. LEXIS 66290 *2 (D. Conn. Sept. 10, 2007)

(same); Gupta v. New Britain Gen. Hosp., 239 Conn. 574, 594 (1996) (“[W]e approach with

caution, and with deference to academic decisionmaking, the plaintiff’s challenge to the

motivation of the hospital in terminating his residency.”); Morris v. Yale Univ., 2012 Conn.

Super. LEXIS 1216 *17-18 (Super. Ct. May 7, 2012) (“The discretion of universities to make

academic decisions concerning its students without judicial interference is widely recognized and

predicated on sound policy.”); Burns v. Quinnipiac Univ., 2009 Conn. Super. LEXIS 237 *1

(Super. Ct. Jan. 22, 2009) (“The Connecticut courts have been reluctant to intervene” in

decisions of colleges and universities on student issues.); Stockstill v. Quinnipiac Univ, 2010

U.S. Dist. LEXIS 49481 *22-23 (D. Conn. May 19, 2010) (an educational institution’s decisions

“involve the exercise of professional judgment to which courts should defer.”).

       A corollary to the principle that academic institutions are to be given substantial

deference in disciplinary decisions is that the courts require only that an educational institution

has “substantially complied” with its rules and regulations. Thus, it has been held: “Judicial

review of the institution’s actions is limited to whether the institution acted arbitrarily or whether




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it substantially complied with its own rules and regulations.” Jones v. Trs. of Union Coll., 937

N.Y.S.2d 475, 477 (App. Div. 2012). See also, Routh v. Univ. of Rochester, 981 F. Supp. 2d

184, 208 (W.D.N.Y. 2013); Faiaz v. Colgate Univ., 64 F. Supp. 3d 336, 358 (N.D.N.Y. 2014);

Doe v. Colgate Univ., 2017 U.S. Dist. LEXIS 180267 *59 (N.D.N.Y. Oct. 31, 2017); Rolph v.

Hobart & William Smith Colls., 271 F. Supp. 3d 386, 405 (W.D.N.Y. 2017); and Purcell v. New

York Inst. of Technology-College of Osteopathic Med., 2017 U.S. Dist. LEXIS 124432 *25

(E.D.N.Y. Aug. 4, 2017).

       The Second Circuit has also made clear that it is only in “rare education cases that it is

appropriate for a court to intervene.” Papelino v. Albany Coll. of Pharmacy of Union Univ., 633

F.3d 81, 94 (2d Cir. 2011). “Thus, in order to maintain a breach of contract action against a

[private] university based upon an academic decision, the Plaintiff must show that the decision

‘was made arbitrarily, capriciously, or in bad faith.’” Stockstill, 2010 U.S. Dist. LEXIS at*22,

quoting, Daley v. Wesleyan Univ., 63 Conn. App. 119, 133-34 (2001), cert. denied, 256 Conn.

930 (2001). See also, Day v. Yale Univ. Sch. of Drama, 2003 Conn. Super. LEXIS 758 *5-6

(Super. Ct. Mar. 18, 2003) (“The plaintiff bears a heavy burden in proving that his dismissal

resulted from arbitrary, capricious, or bad faith conduct on the part of the [educational

institution]. To prevail, he must show that the [institution]’s decision had no discernable rational

basis.”)

       It would be ironic if the courts failed to afford universities broad discretion when

deciding disputes relating to claims of sexual misconduct on campus because the State of

Connecticut has explicitly delegated responsibility for addressing this issue to institutions of

higher learning. See, Conn. Gen. Stat. § 10a-55m. Similarly, the federal government mandated

that, pursuant to Title IX, colleges and universities that receive federal funding must create a




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disciplinary process for adjudicating claims of sexual misconduct. See “Dear Colleague Letter”

issued by the Department of Education in April, 2011.3                  The courts have recognized that

deference to an educational institution’s decisions to discipline students who violate the

institution’s policies on sexual misconduct is in the public interest. See, Knoch v. Univ. of

Pittsburgh, 2016 U.S. Dist. LEXIS 117081 *30 (W.D. Pa. Aug. 31, 2016) (“[A]n educational

institution’s authority to make disciplinary decisions without having to resort to court

intervention is a substantial public interest.          Requiring so would substantially weaken the

institution’s legitimate disciplinary authority among its students and be detrimental to the public

interest, as educational institutions encourage their students to conduct themselves as model

citizens in adhering to any applicable code of conduct.”); Doe v. Ohio State Univ., 2016 U.S.

Dist. LEXIS 21064 *36 (S.D. Ohio Feb. 22, 2016), adopted, 2016 U.S. Dist. LEXIS 52942 (S.D.

Ohio Apr. 20, 2016)          (“[U]niversities have an interest in disciplining students who have

committed serious infractions of university rules and in protecting other students from the type of

conduct alleged here [nonconsensual sex], and the public has a similar interest.”); Pierre v. Univ.

of Dayton, 143 F. Supp. 3d 703, 714 (S.D. Ohio 2015) (“[T]here is also a public interest in

providing an educational environment that is free from harassment. Colleges and universities are

afforded great latitude in administering their rules and regulations as courts recognize that those

institutions’ primary responsibility is to provide an atmosphere conducive to study and learning

for all students.”).

III.    Argument

        The defendants have moved for summary judgment on all counts of the plaintiff’s

January 25, 2017 Amended Complaint. Counts I, II, and III should be dismissed in their entirety


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 The plaintiff’s expert witness, Attorney Susanna Murphy, stated that the “Dear Colleague Letter” sets forth the
governing federal law at the time of the UWC Panel hearing for UWC II. (Ex. Z, Depo. p. 133, 192-193.)


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because the plaintiff failed to exhaust his administrative remedies when he chose not to contest

the charges against him in UWC I and then elected not to appeal. The plaintiff cannot prevail on

his breach of contract claims in Counts I, II, and VII for the additional reason that he cannot

establish that defendant Yale University (“Yale”) violated the policies governing the University-

Wide Committee on Sexual Misconduct (“UWC”). Judgment should also enter in favor of Yale

on the Title IX claims in Counts III and IX because the plaintiff has not produced any evidence

that his gender was a motivating factor in his expulsion.

        The plaintiff cannot prevail on his defamation and invasion of privacy claims in Counts

IV and V because there is no evidence that the defendant Angela Gleason made the statement

alleged by the plaintiff. Additionally, the defamation claim fails because all statements made by

Ms. Gleason were true, and the invasion of privacy claims are deficient because the statements

were not given the requisite degree of publicity required under Connecticut law. Summary

judgment should enter in favor of the defendants Angela Gleason and Jason Killheffer on the

tortious interference claims in Count VI, because the plaintiff cannot establish that either of the

individual defendants engaged in any improper or tortious conduct. The plaintiff cannot prevail

on the breach of contract claim in Count VIII, alleging a denial of basic fairness and arbitrary

and capricious decision making, because he cannot establish that Yale made an arbitrary and

capricious decision.

        A.     Summary Judgment Should Enter on the Plaintiff’s Title IX Discrimination
               Claims, Because there is no Evidence of Discrimination Based on Gender

        In Counts III and IX, the plaintiff asserts disparate treatment claims of gender

discrimination under Title IX. In Count III, the plaintiff alleges that the decision to pursue the

UWC I complaint and the Panel’s finding were motivated by gender bias. (Am. Compl., ¶¶ 222-

225.)    He further asserts, “upon information and belief,” that the defendant would not have



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considered it a UWC matter nor found it sexual harassment if the “perpetrator” had been a

woman. (Am. Compl., ¶¶ 226-227.) In Count IX, the plaintiff alleges that the decision to expel

the plaintiff was motivated by gender bias. (Am. Compl., ¶¶ 311-312, 315.) Summary judgment

should enter in favor of the defendants on the plaintiff’s Title IX claims because the plaintiff has

not produced any evidence demonstrating that the defendants intentionally discriminated against

him based on his gender, a sine qua non of a gender discrimination action.

       Title IX provides, in relevant part, that “[n]o person in the United States shall, on the

basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial assistance.”

20 U.S.C. § 1681(a). The Second Circuit recently made clear that the burden-shifting framework

for evaluating employment discrimination claims under Title VII established in McDonnell

Douglas Corp. v. Green, 411 U.S. 792 (1973), applies to “Title IX claims alleging discrimination

on account of sex in education programs or activities that receive federal support.” Doe v.

Columbia Univ., 831 F.3d 46, 53-56 (2d Cir. 2016). The Second Circuit there explained:

       [I]n the initial phase of the case, the plaintiff can establish a prima facie case
       without evidence sufficient to show discriminatory motivation…. If the plaintiff
       can show (1) that she is a member of a protected class; (2) that she was qualified
       for employment in the position; (3) that she suffered an adverse employment
       action; and, in addition, has (4) some minimal evidence suggesting an inference
       that the employer acted with discriminatory motivation, such a showing will raise
       a temporary ‘presumption’ of discriminatory motivation, shifting the burden of
       production to the employer and requiring the employer to come forward with its
       justification for the adverse employment action against the plaintiff. However,
       once the employer presents evidence of its justification for the adverse action,
       joining issue on plaintiff’s claim of discriminatory motivation, the presumption
       ‘drops out of the picture’ and the McDonnell Douglas framework ‘is no longer
       relevant.’ At this point, in the second phase of the case, the plaintiff must
       demonstrate that the proffered reason was not the true reason (or in any event not
       the sole reason) for the employment decision, which merges with the plaintiff’s
       ultimate burden of showing that the defendant intentionally discriminated against
       her.




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Id. at 54.4     Even assuming that the plaintiff could establish a prima facie case of gender

discrimination under Title IX, he cannot demonstrate that Yale’s proffered reason for the

plaintiff’s expulsion – that he had violated the Sexual Misconduct Policies – was not the true

reason for his expulsion and that Yale intentionally discriminated against him based on his

gender.

          The Second Circuit has observed that reverse Title IX cases generally fall into one of two

categories, erroneous outcome and selective enforcement claims. Yusuf v. Vassar College, 35

F.3d 709 (2d Cir. 1994). Irrespective of which type of claim is asserted, there can be no Title IX

violation absent proof that the defendant was motivated by gender bias. Id. In light of the fact

that the present plaintiff has no evidence of gender bias, summary judgment should enter in favor

of the defense on the Title IX claims contained in Counts III and IX.

                  1.       The Plaintiff’s Title IX Expert Witness Found No Evidence of Gender
                           Discrimination

          The plaintiff’s Title IX expert witness, Susanna Murphy, Esq., acknowledged that at the

time of the UWC proceedings against the plaintiff, the Department of Education Office of Civil

Rights April, 2011 “Dear Colleague Letter” provided the standard for sexual misconduct

procedures under Title IX. (Ex. Z, Depo. p. 132-133.) Attorney Murphy testified that she had

reviewed Yale’s Sexual Misconduct Policies, and she agreed that they were consistent with

federal law. (Ex. Z, Depo. p. 192-193, 202-203, 206, 209; Ex. AA, Depo. p. 17-18, 31.)

Attorney Murphy further agreed that the federal government required educational institutions to

allow a complainant to convert an informal process into a formal process, and that Yale was

required to inform Ms. Roe of this right. That is what occurred in this case when Ms. Roe

4
  While the Second Circuit in Doe v. Columbia, supra, reversed the district court decision to dismiss the complaint
because of a failure to plead sufficient facts on the issue of discriminatory intent, the Second Circuit did not alter
either the plaintiff’s burden of proof at the summary judgment stage or the principle that decisions of educational
institutions on disciplinary matters are entitled to great deference.


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elected to file a formal complaint instead of continuing with an informal process. Attorney

Murphy also acknowledged that the federal government required educational institutions to

evaluate claims of sexual misconduct under the preponderance of evidence standard, which Yale

did. (Ex. Z, Depo. p. 207-209.)

         Attorney Murphy acknowledged that the major issue presented in UWC II was whether

the plaintiff had obtained consent for intercourse. She agreed that, in evaluating the issue of

consent, the UWC Panel was required to determine whether the plaintiff’s or Ms. Roe’s

recollection was more likely to be accurate, and that the UWC Panel could appropriately

consider evidence regarding credibility to make that determination. (Ex. Z, Depo. p. 119-120;

Ex. AA, Depo. p. 19-21, 81.) Attorney Murphy testified that it was proper for the UWC Panel to

consider the following factors: (1) whether one of the parties had made inconsistent statements;

(2) whether one of the parties changed his testimony with regard to how he obtained consent; (3)

whether one of the parties had completely forgotten parts of the interaction;5 and (4) whether one

of the parties consumed more alcohol than the other party.6 (Ex. Z, Depo. p. 126-128, 191-192;

Ex. AA, Depo. p. 21-22, 75-76.)

         Attorney Murphy also agreed that it was appropriate for the Panel to consider the fact that

Ms. Roe did not register a complaint about a prior episode of intercourse with the plaintiff,

despite regretting it after the fact and despite her belief that her consent to intercourse on that

occasion was a result of her intoxication. If Ms. Roe had been “out to get” the plaintiff, then she

could have claimed that the earlier incident was nonconsensual, on the ground that she was


5
  In this regard, Attorney Murphy agreed that the plaintiff forgot some significant parts of the evening, including that
he left Ms. Roe with his friends after they had intercourse and told her to go to Toad’s Place while he went to
another party. He also forgot that they did not stay in bed together the entire night, but instead she left the house and
later returned. (Ex. Z, Depo. p. 127.)
6
 The plaintiff admitted in his deposition that he had consumed more alcohol than Ms. Roe and that Ms. Roe did not
appear intoxicated. (Ex. M, Depo. p. 133-134.)


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incapacitated by alcohol. (Ex. AA, Depo. p. 23-24.) Attorney Murphy testified that if the UWC

Panel believed that (1) Ms. Roe had twice indicated that she was willing to hook up but not have

sex and then, (2) as the plaintiff began to penetrate her, she told the plaintiff that she did not want

that, and (3) immediately after intercourse, the plaintiff apologized, saying that he knew she did

not want that; then the UWC Panel could logically conclude that the plaintiff did not have

consent for intercourse, and that he knew that he did not have consent. (Ex. Z, Depo. p. 118-19.)

The plaintiff himself agreed with this conclusion at his deposition:

       Q.      And if they believed that her version was likely to be more accurate than
               yours, then it would be appropriate to conclude that you had violated
               Yale’s sexual misconduct policy, correct?
               MS. DEAL: Objection.
       A.      THE WITNESS: Correct.

(Ex. M, Depo. p. 149.)

       Thus, the plaintiff’s own Title IX expert testified that (1) Yale’s Sexual Misconduct

Policies comply with federal law, (2) Yale was required to inform Ms. Roe of the option to

pursue a formal proceeding, and (3) the UWC Panel considered appropriate factors and made

logical conclusions in determining that the plaintiff had not obtained consent from Ms. Roe for

intercourse.   This testimony belies any suggestion that the defendants either discriminated

against the plaintiff based on his gender or that they acted arbitrarily or capriciously. As will be

discussed immediately below, as a matter of law, the mere fact that the plaintiff is male does not,

without more, support a conclusion that his gender was a motivating factor in the University’s

decision to expel him.      Indeed, Attorney Murphy testified that she has been involved in

“hundreds” of investigations of sexual assault on behalf of the accused, and “at least 99 percent”

of those individuals were male. Attorney Murphy agreed that the criminal justice system was not




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biased against males by virtue of the fact that 99 percent of the criminal defendants accused of

sexual assault are male. (Ex. AA, Depo. p. 84-85.)

              2.      The Plaintiff Has No Evidence of Gender Discrimination

       It is beyond cavil that a plaintiff’s subjective belief that he was intentionally

discriminated against is insufficient to withstand a motion for summary judgment.           The

subjective belief must be objectively reasonable and supported by substantial evidence to prove

that the defendant’s proffered non-discriminatory justification is a mere pretext. See, Saqib v.

Stein Devisser & Mintz, PC, 2010 U.S. App. LEXIS 12188 *2 (2d Cir. June 15, 2010) (a

plaintiff “may not rely on conclusory allegations or unsubstantiated speculation” to defeat a

motion for summary judgment on a discrimination claim); Weber v. City of N.Y., 973 F. Supp.

2d 227, 254 (E.D.N.Y. 2013) (“a plaintiff’s own subjective belief that he was discriminated

against” held insufficient to sustain a discrimination claim); Boyar v. City of N.Y., 2010 U.S.

Dist. LEXIS 115289 *4 (S.D.N.Y. Oct. 28, 2010) ( Plaintiff’s “personal belief is insufficient to

defeat defendants’ summary judgment motion”); Sicular v. N.Y.C. Dep’t of Homeless Servs.,

2010 U.S. Dist. LEXIS 10089 *19 (S.D.N.Y. Feb. 4, 2010) adopted, 2010 U.S. Dist. LEXIS

53064 (S.D.N.Y. May 28, 2010), aff’d, 455 Fed. App’x 129 (2d Cir. 2012) (same).

       In UWC I, as will be explained more fully below, the UWC had jurisdiction over Ms.

Smith’s complaint under the UWC Procedures, the plaintiff admitted to engaging in the alleged

conduct, and his conduct towards Ms. Smith constituted sexual harassment under the Sexual

Misconduct Policies. The UWC Panel’s conclusion was not erroneous or discriminatory. The

plaintiff has offered no evidentiary support for his conclusory allegation that the UWC I Panel

was motivated by gender discrimination when it determined that the plaintiff committed sexual

harassment. The defendant, for its part, has submitted affidavits of the three individuals who




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determined that the UWC had jurisdiction over the UWC I complaint, all of whom aver that the

plaintiff’s gender played no role in that determination. (Ex. K, ¶ 6; Ex. BB, CC ¶ 5.) The

defendant has also submitted affidavits of three of the five panel members and the decision

maker, all of whom deny that the plaintiff’s gender played any role in their decisions regarding

the plaintiff’s violation of Yale’s Sexual Misconduct Policies and the appropriate sanction.7 (Ex.

DD, EE, FF, GG, ¶ 4-5.) In light of the fact that the plaintiff actually admitted his responsibility

for violating Yale’s Sexual Misconduct Policies in UWC I, the plaintiff cannot make out a prima

facie claim of discrimination as to those disciplinary infractions. Moreover, even if he could, the

fact that he admitted to those violations would provide more than ample justification to

overcome any suggestion that the outcome of that proceeding was the result of discrimination.

        When asked what evidence he had to support his belief that the Panel’s finding in UWC

II was a product of discrimination based on his gender, the plaintiff replied: “I believe that I was

put in a situation where it was hard to testify my innocence [sic] because I was a male.” (Ex. M,

Depo. p. 190-191.) When follow-up questions were asked, the plaintiff was unable to offer any

other reason for claiming that he was the victim of gender discrimination. (Ex. M, Depo. p.

191.) The plaintiff has certainly not proffered any evidence to suggest that the defendants “made

it hard to testify” as to his innocence; even if he had, he offered no evidence that any such

conduct was motivated by gender bias. Indeed, the plaintiff was given the opportunity to testify

to his view of the facts and to make his claim of innocence to the fact-finder and to the UWC

Panel. He also articulated his reasons for believing he was innocent in his letters to Dean




7
 Defense counsel was unable to obtain an affidavit from the other two members of the UWC I Panel. Francesca
Coxe was a student who graduated in 2015 and defense counsel was unable to contact her. Jonathan Wyrtzen is out
of the country and unavailable until the end of July, 2018.


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Holloway and Provost Polak during the appeal process.8 The plaintiff in his deposition agreed

that he had not been prevented from offering evidence in opposition to the complaint filed

against him. (Ex. M, Depo. p. 191-192.) What he objects to is that he was not believed. The

uniform case law has established that the plaintiff’s subjective belief that he was discriminated

against due to his gender and his conclusory allegations in the Amended Complaint are

insufficient to sustain his claim under Title IX at the summary judgment stage. The defendants

have submitted affidavits from the five members of the UWC II Panel, the Dean, and the

Provost, in which all of those individuals aver that the plaintiff’s gender played no role in their

decisions regarding the plaintiff’s culpability in UWC II or the appropriate sanction. (Ex. G, H,

I, J, ¶ 4-5; K, ¶ 12-14; Ex. HH, ¶ 3-4; Ex. II, ¶ 3.).) Since the plaintiff has no evidence suggesting

that the defendants were motivated by the plaintiff’s gender when making their decisions, the

defendants’ motion for summary judgment should be granted as to the Title IX claims in Counts

III and IX.

        B.       Summary Judgment Should Enter on the Plaintiff’s Claims Regarding
                 UWC I.

                 1.      The Plaintiff Failed to Exhaust His Administrative Remedies

        In Counts I, II, and III, the plaintiff asserts claims in connection with UWC I. Since the

plaintiff failed to exhaust his administrative remedies by choosing not to contest the UWC Panel

Report or to appeal Dean Mary Miller’s decision imposing discipline on him, he is barred from

asserting any claims in connection with UWC I.

        In Neiman v. Yale Univ., 270 Conn. 244 (2004), the Connecticut Supreme Court

considered whether a university professor was required to exhaust her internal administrative


8
  Attorney Murphy agreed that Dean Holloway appropriately denied the plaintiff’s request for a second hearing
before the UWC Panel under the UWC Procedures. Similarly, she testified that the Provost properly concluded that
there was no basis for an appeal under the UWC Procedures. (Ex. AA, Depo. p. 36-40.)


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remedies at Yale before asserting claims for breach of contract, breach of implied covenant of

good faith and fair dealing, and negligent misrepresentation arising out of the defendant’s failure

to offer her a tenured appointment to its faculty. Id. at 246. The Supreme Court affirmed the

trial court’s dismissal of the action, concluding that the exhaustion of administrative remedies

doctrine applies to the internal grievance processes provided by academic institutions, observing

that “academic institutions themselves are best suited to be the original forum for these types of

disputes.” Id. at 255.

       The principles enunciated in Neiman also apply to grievance procedures in a student

handbook. In the context of claims arising from disciplinary action taken by a university against

a student, courts have stated that “[i]n order to inject the judiciary into what is essentially an

intra-university dispute, plaintiff must first exhaust his available administrative remedies.” Hill

v. Trs. of Ind. Univ., 537 F.2d 248, 256 (7th Cir. 1976) (Kunzig, J., concurring); Stevenson v.

Bd. of Ed., 426 F.2d 1154, 1157 (5th Cir. 1970), cert. denied, 400 U.S. 957 (1970) (federal

courts should not intervene in school affairs “without requiring such prior reference to local

institutional authority as may be necessary to assure that the action complained of is final within

the institution in the sense that it is ripe for adjudication”). Courts have routinely dismissed such

cases for failure to exhaust the internal remedies provided by an educational institution’s policies

and procedures. See, Durham v. SUNY Rockland Cmty. Coll., 2016 U.S. Dist. LEXIS 3713 *19

(S.D.N.Y. Jan. 12, 2016) (dismissing plaintiff student’s action for failure to exhaust

administrative remedies following school suspension); Sierros v. Nova Se. Univ., Inc., 906 So.

2d 1124, 1124-25 (Fla. Dist. App. Ct. 2005) (affirming summary judgment in favor of defendant

because expelled plaintiff failed to exhaust his administrative remedies).




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       The present plaintiff failed to exhaust his administrative remedies in connection with

UWC I, and therefore is barred from asserting the claims alleged in Count I. After conducting a

hearing regarding the UWC I complaint, the UWC Panel submitted its report on October 16,

2013. (Ex. S.) On that same date, Aley Menon, the Secretary of the UWC, sent a letter to the

plaintiff enclosing the Panel report and informing him that the report was being sent to the

decision-maker, Dean Mary Miller, and that he was permitted to submit a written response to

Dean Miller for her consideration. (Ex. JJ.) The plaintiff submitted nothing in response to the

UWC I Panel report, because he “understood that [his] conduct was completely inappropriate

and wrong and [he] was willing to go through the counseling that had been ordered.” (Ex. M,

Depo. Errata, p. 3.) On October 21, 2013, Ms. Menon wrote again to the plaintiff to inform him

that Dean Miller had “accepted the findings of fact, the conclusion and the recommendations

made by the panel.” (Ex. U, p. 1.) Ms. Menon notified the plaintiff of the discipline imposed and

specifically informed him that he could appeal Dean Miller’s decision under section 7.7 of the

UWC Procedures. Id. The plaintiff chose not to appeal Dean Miller’s decision because he “felt

[his] conduct was inappropriate and for that reason [he] was willing to accept the panel’s

counseling orders.” (Ex. M, Depo. Errata, p. 3.)

       By failing to object to the UWC I Panel report and by failing to appeal Dean Miller’s

decision, the plaintiff failed to exhaust the administrative remedies available to him in

connection with UWC I. Accordingly, the plaintiff is barred as a matter of law from asserting

any claims in connection with UWC I, and judgment should therefore enter in favor of the

defendants on Counts I, II, and III for that reason alone.

               2.      The Defendant Did Not Breach the UWC Procedures in UWC I




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         Even if the plaintiff had exhausted his administrative remedies, he would not be able to

prevail on his breach of contract claims in Counts I and II because the defendant did not breach

its procedures. “The basic legal relation between a student and a private university or college is

contractual in nature.” Burns v. Quinnipiac Univ., 120 Conn. App. 311, 320 (2010), cert.

denied, 297 Conn. 906 (2010).

         By the act of matriculation, together with the payment of the required tuition fees,
         a contract between the student and the university is created containing two
         implied conditions: (1) that no student shall be arbitrarily expelled therefrom; and
         (2) that the student will submit himself (sic) to reasonable rules and regulations
         for the breach of which, in a proper case, he (she) may be expelled, and that he
         (she) will not be guilty of such misconduct as will be subversive of the discipline
         of the university.

Okafor v. Yale Univ., 2004 Conn. Super. LEXIS 1657 *15 (Super. Ct. June 25, 2004). “Under

Connecticut law, the elements of a breach of contract claim are ‘the formation of an agreement,

performance by one party, breach of the agreement by the other party[,] and damages.’”

Midwest Media Grp. Inc. v. Benistar Emp’r SVC Tr. Co., 2011 U.S. Dist. LEXIS 105356 *18-19

(D. Conn. Sept. 16, 2011), quoting, FCM Group, Inc. v. Miller, 300 Conn. 774, 798 (2011).

         The plaintiff claims in Count I that the UWC lacked jurisdiction over Ms. Smith’s

complaint because it did not involve sexual misconduct. He further alleges that Yale’s decision

to pursue the complaint through the UWC was a violation of its own procedures and policies and

a breach of the covenant of good faith and fair dealing. 9 (Am. Compl., ¶¶ 209-210.) The

allegations of Count II are virtually indistinguishable from Count I. The plaintiff claims that the

UWC I Panel could not have found that the plaintiff’s conduct was of a sexual nature or that it

created an intimidating or hostile academic or work environment. (Am. Compl.,¶ 215.) Similar to
9
  It is clear that where there is no breach of contract, there can be no breach of the covenant of good faith and fair
dealing. Capstone Bldg. Corp. v. Am. Motorists Ins. Co., 308 Conn. 760, 795 (2013). Since there was no breach of
contract in this case, plaintiff’s claims of a breach of the covenant of good faith and fair dealing also fail. This is
also true with respect to all of the plaintiff’s claims for breach of the covenant of good faith and fair dealing asserted
in Counts II and VII.



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Count I, Count II alleges breach of contract as well as breach of the covenant of good faith and

fair dealing. (Am. Complaint, ¶216.) The plain language of the UWC Procedures and the Sexual

Misconduct Policies, the plaintiff’s admission of violating the Sexual Misconduct Policies, and

the plaintiff’s own deposition testimony make clear that the UWC had jurisdiction over UWC I

and that the plaintiff had violated the Sexual Misconduct Policies.

        Under Yale’s rules, the UWC Chair, the UWC Secretary, and another member of the

UWC determine whether a complaint falls within the UWC’s jurisdiction by considering whether

the complaint, if substantiated, would constitute a violation of the Sexual Misconduct Policies.10

(Ex. KK, p. 4.) The Sexual Misconduct Policies define “sexual misconduct” as “a wide range of

behaviors including sexual assault, sexual harassment, intimate partner violence, stalking,

voyeurism, and any other conduct of a sexual nature that is nonconsensual, or has the purpose

and effect of threatening, intimidating, or coercing a person.” (Ex. D, p. 2.)

        Ms. Smith stated in her complaint that the plaintiff folded up his used pizza plate, and

placed it down her tank top, between her breasts. He then “turned around and walked away with

his teammate, leaving the plate there as though my person was a garbage receptacle.” Ms. Smith

was “shocked” and “continued to think about what happened for several days,” and described the

plaintiff’s conduct as “offensive.” (Ex. Q.) For jurisdictional purposes, Ms. Smith’s complaint

undeniably alleged “sexual misconduct” as defined in the Sexual Misconduct Policies and the

UWC Procedures. It was certainly nonconsensual conduct of a sexual nature, insofar as the

plaintiff did not have Ms. Smith’s consent to shove a used pizza plate between her breasts, and



10
  Both Ms. Menon and Professor Post testified that the inquiry is not whether the complained-of conduct would
constitute a particular type of sexual misconduct, such as sexual harassment or sexual assault, but whether the
complaint alleges conduct that, if true, could fall within the more general definition of “sexual misconduct.” (Ex.
LL, Depo. p. 19-20; Ex. MM, Depo. p. 18-19.) This is consistent with section 7.1 of the UWC Procedures.



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his conduct had the effect of shocking and offending Ms. Smith, which was appropriately found

by the UWC Panel to be threatening and intimidating.11

        Ms. Menon testified at her deposition that “placing an object between a woman’s breasts

without her consent would be a violation of the sexual misconduct policy, if shown to be true,”

and that she “thought [the complaint] fell squarely within the jurisdiction of the UWC.” (Ex. LL,

Depo. p. 21, 32.) On August 26, 2013, Ms. Menon sent an email to Professor David Post, the

Chair of the UWC, to inquire whether he thought the UWC had jurisdiction.                              (Ex. NN.)

Professor Post replied that, although he thought “some panel members will have a hard time

seeing the sexual nature of the act,” he agreed that “the crux is he is alleged to have placed the

plate down her shirt and between her breasts. Therefore the act as described in the complaint

could be viewed as an act of a sexual nature that was both non-consensual and has the effect of

intimidating a person. Therefore I think it falls within the jurisdiction of the UWC.”12 Id. Ms.

Menon then forwarded Professor Post’s reply to Professor Della Rocca, who confirmed his view

that the UWC had jurisdiction and that the matter should not be handled by Yale’s Executive

Committee. Id. Thus, consistent with Yale’s policies, the UWC Chair, the UWC Secretary, and

another member of the UWC determined that the UWC had jurisdiction over Ms. Smith’s

complaint. (Ex. K, ¶ 5; Ex. BB, CC, ¶ 4.) These deliberations can hardly be described as




11
   Ms. Smith’s complaint on its face also undeniably alleged “sexual harassment” under the Sexual Misconduct
Policies. It was certainly physical conduct of a sexual nature, which occurred off campus, and could easily be said
to have had the effect of creating a hostile academic environment for Ms. Smith, the several eye witnesses to the
incident, and the greater Yale community at large. (Ex. D, p. 2.) While it is not the UWC’s responsibility to
determine ab initio for jurisdictional purposes whether a specific type of violation of the Sexual Misconduct
Policies, such as sexual harassment, has occurred, this is what the UWC I Panel and Dean Miller ultimately
concluded.
12
  Professor Post confirmed this reasoning during his deposition: “[T]he crux of the allegation was that in this case
Mr. Montague placed a plate between the breasts of a woman, and I agreed that the UWC had jurisdiction over that.”
(Ex. MM, Depo. p. 15.)



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“arbitrary and capricious,” nor is there any evidence of “bad faith.” Stockstill, supra, 2010 U.S.

Dist. LEXIS at *22.

         The plaintiff admitted that he acted inappropriately by shoving a used pizza plate

between Ms. Smith’s breasts. He testified that he was too drunk to remember the incident, but he

admitted the UWC I charge because two of his friends witnessed the incident and told him that

Ms. Smith’s accusation was accurate. The plaintiff told the fact-finder that he accepted full

responsibility for his actions toward Ms. Smith. (Ex. M, Depo. p. 48-49.) Significantly, the

plaintiff conceded that his conduct in UWC I constituted sexual contact in violation of the Sexual

Misconduct Policies:

         Q.       And you knew prior to the night of May 7, 2013, the night that this
                  occurred, that Yale’s policies prohibited any form of sexual misconduct
                  including sexual harassment, correct?
         A.       Yes.
         Q.       Do you agree that putting something between a woman’s breasts without
                  consent would represent sexual contact?
         A.       I would have questions surrounding it, but yes, I think – yeah.13
         Q.       And you can’t put your hands or another object between a woman’s
                  breasts without consent, right?
         A.       Yes.14
         Q.       And that would violate Yale’s sexual misconduct policy, correct?
         A.       Yes.15
         Q.       And you knew that prior to May 7, 2013, right?
         A.       Yes.
         Q.       Can you appreciate how that behavior on your part could appear to be
                  hostile and intimidating to the victim of that conduct?
         A.       I guess.
         Q.       You guess. In other words, it could be, right?
         A.       Yes.
         Q.       And you were aware as of May 7, 2013, that sexual misconduct was
                  prohibited whether it was on or off campus; isn’t that right?

13
  In his errata sheet, the plaintiff amended his answer to “I would have questions surrounding it, but yes, I think –
yeah, I would have questions.” (Ex. M, Depo. Errata, p. 1.)
14
  In his errata sheet, the plaintiff amended his answer to “Yes, you can’t put your hands between a woman’s breasts
without consent.” (Ex. M, Depo. Errata, p. 1.)
15
  In his errata sheet, the plaintiff amended his answer to “Yes, putting your hands between a woman’s breasts
without consent would violate Yale’s sexual misconduct policy.” (Ex. M, Depo. Errata, p. 2.)


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       A.      Yes.
       Q.      Now, the UWC Panel concluded that your conduct in shoving this used
               pizza plate down Ms. [Smith’s] shirt displayed absolute disregard for Ms.
               [Smith] as a female student and as a fellow human being. This conduct
               was demeaning, humiliating, and reprehensible. Do you recall that
               language in the UWC report?
       A.      Yeah.
       Q.      You agreed with that assessment, didn’t you?
       A.      Yes.

(Ex. M, Depo. p. 50-52.)

       The Sexual Misconduct Policies define “sexual harassment” as “nonconsensual sexual

advances, requests for sexual favors, or other verbal or physical conduct of a sexual nature on or

off campus, when…such conduct has the purpose or effect of unreasonably interfering with an

individual’s…academic performance or creating a hostile academic…environment.” (Ex. D, p.

2.) The plain language of the Sexual Misconduct Policies, the UWC I Panel Report, and the

plaintiff’s own deposition testimony show that there was ample evidence to support a finding of

sexual harassment in UWC I.

       As set forth in the UWC I Panel Report, the plaintiff, without provocation, rolled up a

used, paper pizza plate and shoved it down Ms. Smith’s shirt, between her breasts. Two of the

plaintiff’s teammates witnessed and confirmed to the fact finder that the incident occurred as

described by Ms. Smith. (Ex. S, p. 2.) In addition to her complaint, the UWC I Panel also

considered Ms. Smith’s written statement, in which she stated that the incident left her angry and

made her feel violated. (Ex. OO.) Ms. Smith explained that the plaintiff’s actions made her feel

that the plaintiff perceived her character as that of a sexual object rather than a fellow human

being. Id. She added that the plaintiff’s conduct:

       made me question what I was doing to invite him to approach me in such a way –
       whether I was at fault for my behavior or my clothing or my social skills. The
       fact is that I shouldn’t have had to question these things: irrespective of them all,
       at no point did I invite or imply that Jack was in any way welcome to use my



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       body as his personal trash can. And, this is why I filed a complaint: the disgust
       of having a used, greasy pizza plate stuffed between my breasts was not the only
       repercussion of this incident.

Id. Citing the definition of sexual misconduct set forth in the Sexual Misconduct Policies, the

UWC Panel concluded, “on the basis of Mr. Montague’s concession and based on the credible

statements of Ms. [Smith] and other witnesses, that Mr. Montague violated the University’s

policy on sexual misconduct by sexually harassing Ms. [Smith.]” (Ex. S, p. 2.)

       It cannot reasonably be disputed that the plaintiff’s behavior constituted “conduct of a

sexual nature.” That the plaintiff touched the area between Ms. Smith’s breasts with a paper

plate rather than with his hands does not negate the sexual nature of his conduct. The Panel also

specifically found that Ms. Smith’s reaction – “shock, anger and the feeling of being violated” –

was reasonable. (Ex. S, p. 2.) The Panel concluded that the plaintiff’s conduct created an

intimidating and hostile academic environment, not only for Ms. Smith, but also “for the broader

Yale community,” and found that “Mr. Montague’s behavior [was] a clear violation of

University policy….” Id.

       As noted above, the plaintiff reached these same conclusions during the first session of

his deposition. (Ex. M, Depo. p. 50-51.) At the second session of his deposition, the plaintiff

acknowledged that he was not allowed to put his hands between a woman’s breasts without her

consent. He further admitted that putting a pizza plate between a woman’s breasts without

consent was “wrong, immature, and inappropriate” and he did not believe “that anything would

excuse his behavior.” Although he initially testified at his second deposition that it would

“depend on the situation” as to whether he was allowed to put an object between a woman’s

breasts without her consent, he later testified that he could not think of any circumstance where

that would be acceptable behavior. (Ex. PP, Depo. p. 32, 34-35, 37-39, 99.) There is simply no

evidence to suggest that the UWC I Panel’s conclusion that the plaintiff had sexually harassed


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Ms. Smith in violation of the Sexual Misconduct Policies by putting a used paper pizza plate

between her breasts was “arbitrary and capricious,” or in “bad faith.” Stockstill, 2010 U.S. Dist.

LEXIS at *22; Saliture v. Quinnipiac Univ., 2006 U.S. Dist. LEXIS 39326 *12 (D. Conn. June 6,

2006); Daley, 63 Conn. App. at 133-34. Because the plain language of the Sexual Misconduct

Policies, the reasoning of the UWC I Panel Report, and the plaintiff’s own deposition testimony

show that the UWC had jurisdiction over the complaint and that there was ample evidence to

support a finding of sexual harassment, judgment should enter for the defendants on Counts I and

II.

       C.      Summary Judgment Should Enter on the Plaintiff’s State Law Claims
               Regarding UWC II

               1.     The Defendants Are Not Liable for Defamation

       In Count IV, the plaintiff asserts a claim for defamation per se against Yale and Ms.

Gleason. He claims that Ms. Gleason, a Title IX Coordinator, falsely informed Ms. Roe that he

had been the subject of a previous complaint of sexual assault, that he had been found

responsible for sexual assault by the UWC, and that he had been required to participate in

training concerning sexual relationships and sexual consent.       (Am. Compl., ¶¶ 230, 236.)

Because Ms. Gleason did not make any of these statements to Ms. Roe, the defendants’ motion

for summary judgment should be granted as to Count IV.

       “To establish a prima facie case of defamation, the plaintiff must demonstrate that: (1)

the defendant published a defamatory statement; (2) the defamatory statement identified the

plaintiff to a third person; (3) the defamatory statement was published to a third person; and (4)

the plaintiff’s reputation suffered injury as a result of the statement.” Cweklinsky v. Mobil

Chem. Co., 267 Conn. 210, 217 (2004). “A defamatory statement is defined as a communication




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that tends to harm the reputation of another as to lower him in the estimation of the community

or to deter third persons from associating or dealing with him….” Id.

       The defamation claim in this case is limited to statements allegedly made by Ms. Gleason

to Ms. Roe. There were no witnesses to this conversation. The only participants in this

conversation – Ms. Gleason and Ms. Roe – both categorically denied in their depositions that

Ms. Gleason informed Ms. Roe that a previous UWC complaint had been filed against the

plaintiff, that the plaintiff had been found responsible for sexual assault by the UWC, or that the

plaintiff had been ordered to participate in training due to a finding of a violation of Yale’s

Sexual Misconduct Policies. Ms. Gleason testified that when she met with Ms. Roe for the first

time on October 19, 2015, Ms. Gleason and Ms. Roe discussed the possibility of an informal

process in which the plaintiff would be offered training.        (Ex. QQ, Depo. p. 106, 111.)

Thereafter, Ms. Gleason learned that the plaintiff had already received the training that she had

discussed with Ms. Roe as an informal resolution and informed Ms. Roe of this fact. (Ex. QQ,

Depo. p. 124-125; Ex. RR, ¶ 5.) Although Ms. Gleason was aware that the plaintiff had received

training in connection with a prior UWC complaint, Ms. Gleason did not tell Ms. Roe that there

had been a previous UWC complaint filed against the plaintiff, nor did she report that the

training had been mandated because of a prior UWC complaint. (Ex. QQ, Depo. p. 133-136,

138-140; Ex. RR, ¶ 3-4, 6.)

       Ms. Roe similarly testified that when she initially met with Ms. Gleason to discuss an

informal complaint, there was discussion of offering the plaintiff training as a means of resolving

an informal complaint. Ms. Roe then met with Ms. Gleason in November, 2015 and Ms.

Gleason informed Ms. Roe that the plaintiff had already had training. Ms. Roe denied that Ms.

Gleason informed her that the plaintiff had been ordered to submit to training after a previous




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UWC complaint. Ms. Roe also denied telling the fact-finder that she had heard that the plaintiff

had been the subject of a previous complaint. (Ex. SS, Depo. p. 17-20, 23, 28-29, 33-34, 41-42,

52.) Ms. Roe explained that she corrected the error in the fact-finder’s report in her opening

statement to the hearing panel:

       Q.      You mean what you say in your opening statement is a correct statement
               of your conversation with Angie or a correct characterization of your
               conversation with Angie.
       A.      Yes. Like here, when it’s in my own words, my conversation with Angie
               about Jack going through the sensitivity training is the only thing that’s
               mentioned. I don’t mention the [prior UWC] complaint in my opening
               statement because that’s not what happened.

(Ex. SS, Depo. p. 35-36.)

       The plaintiff never spoke with Ms. Roe or Ms. Gleason regarding their discussion of the

training that the plaintiff had received. (Ex. M, Depo. p. 180.) The evidence from the only two

people who know what was said during the conversations between Ms. Gleason and Ms. Roe

demonstrates that Ms. Gleason did not make the statements alleged by the plaintiff. For that

reason alone, the defendants are entitled to summary judgment on Count IV.

       Even if there were admissible evidence to support the allegation that Ms. Gleason made

the statements attributed to her in the plaintiff’s Amended Complaint, the plaintiff cannot make

out a claim of defamation per se. Ms. Gleason’s statement does not charge the plaintiff with

incompetence or dishonesty in office, general incompetence, or a crime involving moral

turpitude or to which an infamous penalty is attached, as required for a defamation per se claim.

See, Miles v. Perry, 11 Conn. App. 584, 602 (1987). In this regard, “to determine whether a

communication is slander per se, the words must be stripped of all innuendo, colloquium, and

explanatory circumstances; the very definition of ‘per se,’ in and of itself, precludes the use of

innuendo. Our Supreme Court has held that the context in which a statement is made is




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relevant in determining whether it constitutes slander per se and that mere innuendo that a

statement charges the plaintiff with a crime is insufficient.” (Internal quotations and citations

omitted.) Silano v. Cooney, 2015 Conn. Super. LEXIS 2177 *8-9 (Super. Ct. Aug. 17, 2015).

Thus, whether or not Ms. Roe inferred or assumed from Ms. Gleason’s statement that the

plaintiff had a previous complaint filed against him is irrelevant to the determination of whether

Ms. Gleason charged him with a crime of moral turpitude. Since Ms. Gleason’s statement that

the plaintiff had received sensitivity training does not, in and of itself, charge the plaintiff with a

crime of moral turpitude, the plaintiff cannot prevail on his defamation per se claim.

       The defendants cannot be liable for defamation based on Ms. Gleason’s statements to Ms.

Roe for the additional reason that the alleged statements were true, even if Ms. Gleason had

made them as alleged in the amended complaint. “[T]he rule in Connecticut is that the truth of an

allegedly [slanderous] statement of fact provides an absolute defense….              Contrary to the

common law rule that required the defendant to establish the literal truth of the precise statement

made, the modern rule is that only substantial truth need be shown to constitute the

justification…. It is not necessary for the defendant to prove the truth of every word of the

[slander].” Mercer v. Cosley, 110 Conn. App. 283, 304 (2008). There is no doubt that the

statements attributed to Ms. Gleason in the Amended Complaint were in fact true. The plaintiff

had been the subject of a previous complaint before the UWC, he had been found responsible by

the UWC, and he had been required to participate in training as a result of that prior UWC

complaint. Part of the plaintiff’s penalty from UWC I was a requirement that he immediately

enroll in sexual harassment and gender sensitivity training through the SHARE Center. (Ex. S,

p. 3.) The plaintiff testified at his deposition that he received sexual harassment and gender

sensitivity training from John Criscuolo. (Ex. M, Depo. 52-53, 158.) Since the plaintiff had in




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fact received sensitivity training, Ms. Gleason’s statement to Ms. Roe was true. Therefore, the

plaintiff cannot prevail on his defamation claim.

       The plaintiff also claims that Ms. Gleason’s statements caused Ms. Roe to believe that

she had to engage in the formal complaint process and that the statements were “the genesis of

the formal complaint proceedings” against him. (Am. Compl., ¶¶ 231-232.) Contrary to these

allegations, Ms. Roe testified that she did not tell the fact-finder that she was motivated to

participate in the complaint because she had heard that the plaintiff was charged in a previous

UWC complaint. (Ex. SS, Depo. p. 33-34.) Rather, Ms. Roe was motivated to participate in the

formal complaint process because of her own emotions, conversations she had with her

suitemates, and the fact that the plaintiff had already received the training that she had been

considering as an informal resolution.      (Ex. SS, Depo. p. 40-41, 55-56.)        A subsequent

interaction with the plaintiff also played a role in her decision. The day after speaking with Ms.

Gleason about the plaintiff having received sensitivity training, Ms. Roe was at a party where the

plaintiff was also present. Ms. Roe’s friend approached the plaintiff and asked him to leave the

party. The plaintiff yelled at Ms. Roe’s friend, saying: “There’s no reason why I should have to

leave this party just because she’s here. Like this is ridiculous.” When Ms. Roe’s friend said

that the plaintiff had raped Ms. Roe, he replied: “That was more than a year ago. This is

ridiculous.”   The Monday after this interaction, Ms. Roe informed Ms. Gleason of her

willingness to participate in the formal complaint process. (Ex. SS, Depo. p. 84-87.) The only

person who is competent to testify as to the reason Ms. Roe elected to pursue a formal complaint

against the plaintiff is Ms. Roe herself. Since she categorically denied both that Ms. Gleason

made the statements attributed to her and that Ms. Gleason’s comments were “the genesis of the

formal complaint proceedings,” the plaintiff cannot establish either a breach of confidentiality or




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a causal link between that alleged breach and the plaintiff’s expulsion. For all of the foregoing

reasons, summary judgment should enter in favor of the defendants on the defamation claims.

               2.      The Defendants are Not Liable for Invasion of Privacy

       Count V purports to state causes of action for invasion of privacy. There are four distinct

categories of “invasion of privacy” recognized in Connecticut: “(a) unreasonable intrusion upon

the seclusion of another; (b) appropriation of the other’s name or likeness; (c) unreasonable

publicity given to the other’s private life; or (d) publicity that unreasonably places the other in a

false light before the public.” Goodrich v. Waterbury Republican-American, Inc., 188 Conn.

107, 128 (1982).     The plaintiff appears to be asserting claims under the third and fourth

categories. Under either theory, he must prove that Ms. Gleason “gave publicity” to the private

information, not just that she repeated the information to a small number of individuals.

       In Blue v. Carbonaro, 2015 Conn. Super. LEXIS 1093 *23 (Super. Ct. May 11, 2015),

the plaintiff brought claims for invasion of privacy due to unreasonable publicity relating to his

private life and for casting the plaintiff in a false light. The court explained that under either

theory, the plaintiff would need to prove that publicity occurred, and each tort relies upon the

same definition of publicity: “Publication…includes any communication by the defendant to a

third person. Publicity…means that the matter is made public, by communicating it to the public

at large, or to so many persons that the matter must be regarded as substantially certain to

become one of public knowledge. The difference is not one of the means of communication…

It is one of a communication that reaches, or is sure to reach, the public… The distinction…is

one between private and public communications…”             (Emphasis added; internal quotations

omitted.) Id. at *24, quoting, Carney v. Amendola, 2014 Conn. Super. LEXIS 1206 (Super. Ct.

May 14, 2014). The court observed that “it is not an invasion of privacy to communicate a fact




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concerning the plaintiff’s private life to a single person or even to a small group of persons.” Id.

at *24-25. In fact, the Connecticut courts have repeatedly held that verbal communication to a

small group of people does not constitute “publicity.” Id. at *25. See also, Doe v. Hartnett, 2002

Conn. Super. LEXIS 1673 *12 (Super. Ct. May 8, 2002) (stating that “publicity” requires that

“the communication be published to more than a mere handful of individuals.”); Bonito Mfg v.

Criscuolo, 2012 Conn. Super LEXIS 2201 (Super. Ct. Aug. 27, 2012) (granting motion to strike

invasion of privacy claim based on false light where the plaintiff alleged that the defendant

disclosed information to two people); Cavallaro v. Rosado, 2006 Conn. Super. LEXIS 2919

(Super. Ct. Oct. 5, 2006) (granting motion to strike false light privacy claim where the plaintiff

alleged that the defendant made a negative statement about him to one person); Olivas v. DeVivo

Indus., 2001 Conn. Super. LEXIS 686 (Super. Ct. Feb. 28, 2001) (granting motion to strike false

light privacy claim where defendant told three people of the alleged conduct of the plaintiff).

Since the evidence in the present case is undisputed that Ms. Gleason told only Ms. Roe that the

plaintiff had received sensitivity training, the plaintiff cannot establish the publicity requirement

for the two invasion of privacy claims alleged in the amended complaint.

       The plaintiff cannot prevail on the false light invasion of privacy claim for the additional

reason that he cannot prove that Ms. Gleason’s statement to Ms. Roe was false. “The essence of

a false light privacy claim is that the matter published concerning the plaintiff (1) is not true; and

(2) is such a major misrepresentation of his character, history, activities or beliefs that serious

offense may reasonably be expected to be taken by a reasonable man in his position.” (Internal

quotations and citations omitted.) Goodrich, supra, 188 Conn. at 131. As explained above, Ms.

Gleason did not inform Ms. Roe that the plaintiff had been the subject of a previous UWC

complaint, that he had been found responsible for sexual misconduct by the UWC, or that he had




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been required to participate in training because of that violation. However, even if Ms. Gleason

had given Ms. Roe this information, those facts are not disputed by the plaintiff.

        Because the statements alleged to have been made by Ms. Gleason were true and because

the plaintiff cannot establish the publicity element of either of the invasion of privacy claims, the

defendants’ motion for summary judgment as to Count V should be granted in its entirety.

                 3.       The Defendants Did Not Tortiously Interfere with the Plaintiff’s Contract

        In Count VI, the plaintiff alleges that Ms. Gleason and Mr. Killheffer intentionally

interfered with the plaintiff’s contractual relationship with Yale by taking steps to procure his

expulsion by: (1) violating the confidentiality requirements contained in Yale’s policies; (2)

falsely informing Ms. Roe that the informal complaint process was not available under the

circumstances; (3) falsely informing Ms. Roe that the plaintiff was the subject of a previous

complaint of sexual assault; and (4) “manipulating” Ms. Roe into agreeing to participate in a

formal complaint process against the plaintiff.16 (Am. Compl., ¶ 245.)

        To make out a claim for intentional interference with contractual relations under

Connecticut law, the plaintiff must establish: “(1) the existence of a contractual or beneficial

relationship; (2) the defendant’s knowledge of that relationship; (3) the defendant’s intent to

interfere with the relationship; (4) that the interference was tortious; and (5) a loss suffered by

the plaintiff that was caused by the defendant’s tortious conduct.” Rioux v. Barry, 283 Conn.

338, 351 (2007). “[A]n action for intentional interference with business relations…requires the

plaintiff to plead and prove at least some improper motive or improper means…. [A] claim is

made out [only] when interference resulting in injury to another is wrongful by some measure

beyond the fact of the interference itself.” Weiss v. Wiederlight, 208 Conn. 525, 536 (1988).


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   Although the plaintiff also alleges that “others unknown” also tortiously interfered with his contractual
relationship with Yale, he could not identify any other individuals at his deposition. (Ex. M, Depo. p. 178-180.)


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       At his deposition, the plaintiff testified that Ms. Gleason interfered with his contractual

relationship with Yale by providing Ms. Roe information “that was beyond her jurisdiction.”

(Ex. M, Depo. p. 180-181.) As explained above in Section III(C)(1), Ms. Gleason and Ms. Roe

both testified that Ms. Gleason did not inform Ms. Roe that the plaintiff had been the subject of a

previous complaint, that he had been found responsible for violating the Sexual Misconduct

Policies, or that he was required to participate in training because of that finding. Ms. Roe’s

testimony also establishes that Ms. Gleason did not inform Ms. Roe that the informal complaint

process was not available to her because the plaintiff had previously received training. To the

contrary, Ms. Gleason informed Ms. Roe that she still had the following options: (1) offer the

plaintiff sensitivity training again in an informal process; (2) abandon the informal complaint; or

(3) proceed with a formal complaint, acting as either the complainant or a witness. (Ex. SS,

Depo. p. 41-44.) Ms. Gleason also testified that she informed Ms. Roe that she still had the

informal option available. (Ex. QQ, Depo. p. 131; Ex. RR, ¶¶ 7-8.) Ms. Gleason and Ms. Roe

also both testified that Ms. Gleason did not pressure Ms. Roe to participate in a formal

complaint. Ms. Gleason denied urging Ms. Roe to participate in a formal complaint. She simply

presented Ms. Roe with her options, which included participating in a formal complaint as a

witness. (Ex. QQ, Depo. p. 177; Ex. RR, ¶ 8.) Ms. Roe agreed that Ms. Gleason presented all of

the above options, and did not recommend a course of action. She chose the formal complaint

option of her own volition. (Ex. SS, Depo. p. 43-44, 47.) Since Ms. Gleason and Ms. Roe were

the only witnesses to the conversations between them, there is no contrary evidence.

       At the first session of his deposition, the plaintiff could not identify anything that Mr.

Killheffer did to intentionally and maliciously interfere with the plaintiff’s contractual

relationship with the plaintiff. (Ex. M, Depo. p. 181-182). At the second session of his




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deposition, the plaintiff claimed that Mr. Killheffer “coerced” Ms. Roe into filing a formal

complaint and revealed confidential information to her.          He claimed to have learned this

information through the “depositions,” but could not cite to a specific deposition. He then

testified that he had read only parts of Ms. Gleason’s deposition transcript and there was nothing

specific in that transcript that caused him to believe that Mr. Killheffer interfered with his

contractual relationship with Yale. (Ex. PP, Depo. p. 80-83.) Mr. Killheffer did not discuss the

filing of a formal complaint with Ms. Roe.             In fact, Mr. Killheffer had never met or

communicated with Ms. Roe until February 23, 2016, after Dean Holloway had already accepted

the recommendation of the UWC II Panel to expel the plaintiff. (Ex. TT, Depo. p. 165-166; Ex.

UU, ¶¶ 3-4.) Thus, he could not have provided her with any information or manipulated her into

participating in a formal complaint. Since the plaintiff has no evidence supporting his claim that

either Ms. Gleason or Mr. Killheffer tortiously interfered with his contractual relationship with

Yale, summary judgment should enter in favor of the defendants on Count VI.

               4.      The Defendants Fully Complied With the UWC Procedures in the UWC II
                       Proceeding and There Was No Breach of Contract

       In Count VII, the plaintiff asserts eight breach of contract claims, each of which will be

addressed in turn.

                       a.      The Defendants Did Not Breach Yale’s Policy on Confidentiality

       In Count VII(A), the plaintiff alleges that Ms. Gleason violated the UWC Procedures and

the Provost’s Statement of Confidentiality of UWC Proceedings by disclosing the “fact and

substance of the UWC I proceedings to Ms. Roe.” (Am. Compl., ¶ 252.) As explained above,

Ms. Gleason did not reveal the fact or substance of the UWC complaint or proceedings. She

stated that the plaintiff had already received sensitivity training, but did not provide any further

information. It is significant that students can receive sensitivity training for a variety of reasons,



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not only as a disciplinary measure after being found responsible for violating the Sexual

Misconduct Policies.         John Criscuolo, a counselor at the SHARE Center, testified that he

provides sensitivity and gender conduct training to students referred by the student’s college

Dean and to “self-referred” students, as well as students referred by the UWC.                               Of the

approximately 24 students he has counseled, at least half were either referred by their Deans or

were self-referred. Those individuals did not receive training as a result of being found to have

violated Yale’s Sexual Misconduct Policies. (Ex. VV, Depo. p. 5, 8, 10-11.) 17 Thus, a statement

that the plaintiff had received sensitivity training is not tantamount to a disclosure that he had

been found responsible for violating the Sexual Misconduct Policies, and, therefore, the plaintiff

cannot prevail on the breach of contract claim based on violation of confidentiality.

                           b.       Yale’s Policies Permitted a Title IX Coordinator to Bring the
                                    Complaint in UWC II

         In Count VII(B), the plaintiff alleges that Title IX Coordinators may only bring formal

UWC complaints in “’unusual circumstances…such as those involving risks to the safety of

individuals and/or the community.’” Contrary to the plaintiff’s allegation, the UWC Procedures

do not limit a Title IX Coordinator to bringing a complaint only in unusual circumstances

involving risks to the safety of individuals and/or the community. In fact, that language does not

appear anywhere in the UWC Procedures.                   Rather, the UWC Procedures allow a Title IX

Coordinator to bring a complaint in three different circumstances, including “when there is

evidence that the University’s policies on sexual misconduct have been violated and the

Coordinator’s intervention is needed to ensure that the matter reaches the UWC.” (Ex. E, p. 1-

2.) The Yale University Report of Complaints of Sexual Misconduct explains that “the Title IX

Coordinator may file a complaint in situations on behalf of someone who experienced sexual

17
  John Criscuolo is the same individual who provided training to the plaintiff as a result of his having been found
responsible for a violation of Yale’s Sexual Misconduct Policies in UWC I.


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misconduct but who cannot or will not themselves take the formal role of complainant; this may

be an issue of jurisdiction, safety or preference.”18 (Emphasis added.) (Ex. WW, p. 16.) In

UWC II, Ms. Roe would not bring the case herself and preferred that the Title IX coordinator

bring the case on her behalf. Ms. Roe provided Ms. Gleason with information that constituted

evidence that the University’s policies on sexual misconduct had been violated. On November 9,

2015, Ms. Roe informed Ms. Gleason that, while she was comfortable participating in a formal

complaint as a witness, she did not want to participate as the complainant: “I have had time to

think about the case and my role in it over the weekend…. I am comfortable with Title IX filing

a formal complaint against Jack Montague, and I am willing to participate as a witness. I

understand that this may include talking to a fact finder and eventually participating in a formal

hearing. At this time I am comfortable doing both of those things, but I will let you know if at

any time I decide that I cannot participate in either.” (Ex. XX; Ex. RR, ¶ 8.)19 Thus, UWC II

was a case in which the UWC Procedures expressly allow the Title IX Coordinator to file a

complaint; there was evidence from Ms. Roe that the Sexual Misconduct Policies had been

violated, and the case would not have reached the UWC without the Title IX Coordinator’s

involvement because Ms. Roe decided not to file the complaint herself. Accordingly, it was

appropriate for Mr. Killheffer to bring the UWC complaint.




18
    The Report also states that a Title IX Coordinator may file a formal complaint “independently of the wishes of an
individual complainant” in other circumstances, “such as those involving risks of the safety of the individual and/or
the community . . . .” (Emphasis added).) (Ex. WW, p. 5.) In the present case the complaint was not filed
“independently of the wishes” of the complainant; Ms. Roe explicitly agreed with the plan to have the complaint
filed by the Title IX Coordinator, and stated in writing her willingness to be a witness.
19
  As explained above, Ms. Gleason did not urge, or even recommend, that Ms. Roe pursue a formal complaint; she
merely explained the options available. Ms. Roe decided she wanted to pursue the formal complaint option,
provided that a Title IX Coordinator was listed as the complainant. (Ex. SS, Depo. p. 40-41, 55-56; Ex. RR, ¶ 8.)


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                      c.      The Uniform Practice of the UWC is to Allow a Complaining
                              Witness to Participate in the UWC Process

       In Count VII(C), the plaintiff alleges that the defendants breached the UWC Procedures

because Ms. Roe was permitted to “enjoy the status of a complainant” despite not filing a formal

complaint on her own behalf. (Am. Compl., ¶ 261.) Contrary to the plaintiff’s allegations, the

UWC Procedures do not prohibit a complaining witness in a case filed by a Title IX Coordinator

from participating in the UWC process as if he or she had filed the formal complaint, i.e., by

receiving the fact-finder’s report, submitting an opening statement, participating in the hearing,

responding to the panel report, responding to the decision, and responding to an appeal. Ms.

Menon testified that, in circumstances where the complaining witness does not wish to be the

formal complainant, it is the UWC practice to allow the witness to submit an opening statement

and to participate fully in the process. (Ex. LL, Depo. p. 142-44; Ex. BB, ¶ 6.) Ms. Menon also

testified as to the common sense reason for this practice, as applied in UWC II:            “Jason

Killheffer has no knowledge of the incident, [Ms. Roe] does, which is why she is permitted to

make an opening statement and be interviewed.” (Ex. LL, Depo. p. 143.)             Professor Post

similarly testified that the UWC had a longstanding practice to allow the primary witness in a

complaint brought by a Title IX Coordinator to participate fully in the hearing, because he or she

is the person with firsthand knowledge of the alleged violation. (Ex. MM, Depo. p. 27; Ex. K, ¶

10.)   There was no evidence proffered by the plaintiff to contradict the testimony of the

defendants on this issue. Since there is no provision in the UWC Procedures prohibiting Ms. Roe

from participating in the UWC process as if she had filed the formal complaint on her own

behalf, and the uniform practice has been to permit the complaining witness to do so, the plaintiff

cannot prevail on the breach of contract claim in that regard. In addition, the plaintiff cannot

prove that he suffered any damages due to Ms. Roe’s receiving the “status of a complainant.” At



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both sessions of his deposition, the plaintiff was unable to explain how this procedure adversely

impacted him. (Ex. M, Depo. p. 182-184; Ex. PP, Depo. p. 83.) Because the plaintiff cannot

prove a violation of contract, causation, or damages, summary judgment should enter in favor of

the defendant on the breach of contract claim based on the alleged “failure to comply with UWC

Procedures concerning status of complainant” in Count VII(C).

                      d.      The UWC Procedures Did Not Require Professor Post to
                              Withdraw from the UWC Panel

       In Count VII(D), the plaintiff alleges that Professor Post should not have appointed

himself as Chair of the UWC II Panel and should have withdrawn from the panel because (i) he

attended a meeting with Ms. Gleason, Mr. Killheffer, and counsel for Yale, at which the primary

topic of conversation was the possibility of a Title IX Coordinator-initiated complaint against the

plaintiff and (ii) participated in a meeting and e-mail exchange with Ms. Roe, allegedly to

convince her to allow Yale to file a formal complaint against the plaintiff. (Am. Compl., ¶¶ 265-

268.) The plaintiff further claims that Yale should have informed him of Professor Post’s “direct

involvement in the events leading up to the formal complaint against him,” and the failure to do

so deprived him of the opportunity to object to Professor Post as a member of the UWC Panel.

(Am. Compl. ¶¶ 270-271.)

       In support of his breach of contract claim, the plaintiff cites the provisions of the UWC

Procedures that provide that a “hearing panel will not include any Member who has participated

in the resolution of an informal complaint arising out of the same events” and a panel member

“must withdraw from the proceedings if their relationship to the complainant or the respondent

or other circumstances lead them to believe that they cannot judge the matter fairly.” (Ex. E, p.

5.) Neither of these provisions was breached because the undisputed evidence is that Professor

Post did not participate in the resolution of an informal complaint by Ms. Roe against the



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plaintiff. He met with Ms. Roe solely to answer her questions regarding the UWC process, after

she indicated she might be interested in a formal complaint. After his meeting with Ms. Roe,

Professor Post responded to Ms. Roe’s e-mail that asked additional questions about the formal

complaint process. (Ex. MM, Depo. p. 20, 22-26; Ex. YY; Ex. K, ¶ 7-8.) Both Ms. Gleason and

Ms. Roe confirmed that Professor Post met with Ms. Roe only to answer her questions regarding

the UWC process. (Ex. QQ, Depo. p. 157-158; Ex. SS, Depo. p. 44-45, 47-49.) As the Chair of

the UWC, Professor Post was the most appropriate person to answer Ms. Roe’s questions.

Professor Post did not made any recommendations to Ms. Roe as to whether she should proceed

with a formal complaint. (Ex. MM, p. 25; Ex. SS, Depo. p. 49; Ex. K, ¶ 9.) At no time prior to

the UWC II hearing did Professor Post communicate with Ms. Roe, nor did she communicate

with him, about the substance of her complaint against the plaintiff. (Ex. K, ¶ 8.) The plaintiff

offered no evidence at his deposition in support his claim that Professor Post met with Ms. Roe

to persuade her to participate in a formal complaint. (Ex. M, Depo. p. 185.) Since there is no

evidence to support the plaintiff’s claim in Count VII(D), summary judgment should enter.

                      e.     There Was Sufficient Evidence for the UWC Panel to Conclude
                             that the Plaintiff Violated the Sexual Misconduct Policies

       In Count VII(E), the plaintiff alleges that the UWC II Panel lacked sufficient evidence to

support its conclusion that the plaintiff sexually assaulted Ms. Roe in violation of the Sexual

Misconduct Policies. (Am. Compl., ¶¶ 274-280.) He claims that “[i]t is undisputed that Roe

affirmatively consented to sexual activity when she led Montague to his room, removed all of her

clothing, got into bed with him, and voluntarily engaged in various forms of sex” and that the

panel could not have found that Ms. Roe unambiguously and audibly communicated to the

plaintiff her revocation of consent to sex. (Am. Compl., ¶¶ 278-279.) In fact, the UWC Panel




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properly found that Ms. Roe told the plaintiff three times that she did not want to have sexual

intercourse and that Ms. Roe never consented to intercourse, either by word or action.

        The plaintiff acknowledged at his deposition that one of the duties of the UWC Panel was

to look at all of the evidence and make a decision as to whether the account of the plaintiff or

Ms. Roe was more accurate, credible, and consistent. (Ex. M, Depo. p. 123, 154, 214.) Attorney

Murphy, the plaintiff’s expert, testified that if the UWC Panel determined that the testimony of

Ms. Roe was more credible than that of the plaintiff, then one reasonable conclusion would be

that the plaintiff had violated Yale’s Sexual Misconduct Policies. (Ex. Z, Depo. p. 118-120; Ex.

AA, Depo. p. 20-21.) The UWC Panel deliberated at length about the issues of credibility and

ultimately found Ms. Roe’s account more credible. The UWC Panel identified specific reasons

that it credited Ms. Roe’s version of the events over that of the plaintiff: Ms. Roe provided a full

and detailed account of her encounter with the plaintiff in her interviews with the fact-finder and

the UWC Panel, and her contemporaneous text to her friend, her undated written account, and

her testimony at the hearing were all detailed and consistent. On the other hand, the plaintiff had

a selective memory of the incident and a shifting recollection of how he gauged consent. (Ex. C,

p. 6, 8). In fact, at his deposition, the plaintiff admitted that he made statements to the fact-finder

that “turned out to be untrue.”20 (Ex. M, Depo. p. 129.) In this regard, the plaintiff testified:

        Q.       As of the time you talked to the factfinder, you were confused as to
                 whether or not Ms. [Roe] had -- whether you had asked her whether she
                 wanted to have sex and she said okay or whether, on the other hand, it was
                 consent by conduct; is that right?
                 MS. DEAL: Objection.
                 THE WITNESS: I guess I was confused with the question and my
                 responses.
                 BY MR. NOONAN:
        Q.       Well, you weren’t confused by the questions, were you?
        A.       No.

20
  In his errata sheet, the plaintiff amended his response to substitute “inaccurate” for “untrue.” (Ex. M, Depo.
Errata p. 3.)


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         Q.       I mean, you just got it wrong?
         A.       I just got it wrong.
         Q.       Okay. And you got it wrong when you said it was three encounters
                  [between the plaintiff and Ms. Roe] rather than four, right?
         A.       Yes.
         Q.       Okay. And that’s just a failure of memory, right? You just didn't
                  remember it at the time?
         A.       Yes.
         Q.       Okay. Now, another thing you didn't remember that night -- about the
                  night of October 18, 2014, when you were talking to the factfinder, is the
                  fact that you had -- after having intercourse with Ms. [Roe], you had
                  gotten up and gone out to another party at a different location.
         A.       Correct.
         Q.       You didn’t remember that at the time?
         A.       No, not the first time, no.

(Ex. M, Depo. p. 127-128.)

         In fact, the plaintiff recalled almost nothing of his interaction with Ms. Roe on the night

of the assault. He testified that he did not remember speaking to his friends after having

intercourse with Ms. Roe, leaving his house to attend a party, arranging for Ms. Roe to go

elsewhere with his friends, or then meeting Ms. Roe later at Davenport College and walking with

her back to his house. He acknowledged that all of these events occurred, but he just did not

remember them. (Ex. M, Depo. p. 156.) At the second session of his deposition, the plaintiff

tried to explain his inability to remember key events by testifying that he has had a very poor

memory at least since high school, and that, based on a recommendation from his attorney, he

planned to be evaluated for a medical condition that might be responsible for this very poor

memory. (Ex. PP, Depo. p. 14-16.)21 In fact, the only aspects of his interaction with Ms. Roe

that the plaintiff did seem to remember were those that supported his claims regarding consent.



21
   The plaintiff’s claims about his memory problem evolved over time. The plaintiff did not mention a poor memory
at all during the first session of his deposition. At the second session of his deposition he stated for the first time
that he has had a very poor memory for many years (but had not mentioned this to his teachers or parents) and he
planned to have a medical evaluation for that condition. (Ex. PP, Depo. p. 14-19.) Then in his errata sheet
following the second session of his deposition he changed his answer to claim an “auditory processing disorder”
instead of a poor memory. (Ex. PP, Depo. Errata p. 2.)


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        Throughout the UWC II process, the plaintiff provided inconsistent accounts on the key

question of how he obtained consent for sexual intercourse with Ms. Roe. In his interview with

the fact-finder, the plaintiff said that he obtained verbal consent from Ms. Roe, but, when he

spoke to the UWC Panel, he said that Ms. Roe indicated consent by her conduct. (Ex. B, p. 10;

Ex. C, p. 5.) In discussing with the Panel his reason for believing he had consent for intercourse,

he said that he did not use force and that Ms. Roe did not say “no” during intercourse. (Ex. C, p.

8.)   In his written response to the Panel’s report, the plaintiff said that “given our prior

experiences and conduct I believe it was reasonable for me to understand that our mutual sexual

encounter was consensual.” (Ex. L, p. 1). The plaintiff now claims that Ms. Roe consented to

sex “when she led [him] to his room, removed all of her clothing, got into bed with him, and

voluntarily engaged in various forms of sex.” (Am. Compl., ¶ 278).

        Under the Sexual Misconduct Policies, consent is defined as “positive, unambiguous, and

voluntary agreement to engage in specific sexual activity throughout a sexual encounter.” The

Policies further provide that “[c]onsent to some sexual acts does not constitute consent to others,

nor does past consent to a given act constitute present or future consent. Consent must be

ongoing through a sexual encounter and can be revoked at any time.” (Ex. D, p. 2.) The

plaintiff’s Title IX expert Attorney Murphy testified that Yale’s definition of sexual consent was

appropriate and consistent with the federal government’s mandates. She further acknowledged

that each action in a sexual encounter requires positive, unambiguous and voluntary agreement

and that it was the plaintiff’s obligation to obtain positive, unambiguous, and voluntary consent

to intercourse on the night of October 18, 2014. (Ex. Z, Depo. p. 224-228; Ex. AA, Depo. p. 16-

19.) All of this was perfectly clear to the plaintiff on that night. He admitted at his deposition

that he understood that prior sexual activity did not provide consent for subsequent sexual




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activity and that he needed specific consent for each sexual act during a sexual encounter. (Ex.

M, Depo. p. 146-147; Ex. PP, Depo. p. 67-69.) The plaintiff further acknowledged at his

deposition that the absence of force and the failure of Ms. Roe to say “no” would not imply

consent. (Ex. M, Depo. p. 156-157.)

            Ms. Roe consistently stated that, on two separate occasions prior to entering the

plaintiff’s bedroom, she asked him if it was “okay to hookup, but not have sex,” and he

responded in the affirmative. She further stated that as the plaintiff was about to penetrate her,

she told him to stop. When he was finished, according to Ms. Roe, the plaintiff apologized

saying he knew she did not want that. (Ex. B, p. 4-5; Ex. C, p. 3; Ex. ZZ, p. 4.) The plaintiff

agreed that to “hook up, but not have sex” could mean any type of sexual contact with the

exception of intercourse and admitted that all of the behavior that the two engaged in prior to

penetration would fall within the definition of “hookup, but not have sex.” (Ex. PP, Depo. p. 63-

65, 102-103, 119-121.). The plaintiff agreed at his deposition that if Ms. Roe had asked if it was

okay to hook up but not have sex, then he would not have had consent for intercourse. 22 (Ex. M,

Depo. p. 120-122.) He further admitted that if Ms. Roe had made all of the above referenced

statements, then it would have been appropriate for the UWC Panel to conclude that the plaintiff

had violated the Sexual Misconduct Policies.23 (Ex. M, Depo. p. 119-123, 148-149, 232-233.)

            As discussed above, the plaintiff has admitted to having a very bad memory in general,

and he has admitted that he made statements to the fact-finder that turned out to be untrue. At

the time of the UWC II process, he remembered almost nothing about the night of the assault

except that he obtained consent, and his description of how he obtained consent shifted. The


22
 In his errata sheet, the plaintiff amended his answers to indicate that he would not have had consent at the time
Ms. Roe made those statements. (Ex. M, Depo. Errata, p. 3.)
23
     In his errata sheet, the plaintiff also qualified this response. (Ex. M, Depo. Errata, p. 3-5.)


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UWC Panel, which was charged with finding the facts and assessing credibility, had excellent

reason for concluding that Ms. Roe’s recollection was accurate and the plaintiff’s was not.

Therefore, the plaintiff has no basis for asking this court to decide that the UWC II Panel lacked

sufficient evidence to conclude that he assaulted Ms. Roe, and he cannot prevail on the breach of

contract claim in Count VII(E).

                      f.      The UWC Panel Properly Considered UWC I as a Previous Act of
                              Sexual Misconduct

       In Count VII(F), the plaintiff claims that the defendants should not have relied upon the

UWC I proceedings when determining the plaintiff’s culpability in UWC II, because UWC I did

not involve an act of sexual misconduct.       The UWC Procedures provide: “In determining

culpability, the panel may also take into account a respondent’s previous formal discipline for

other acts of sexual misconduct, including written reprimands, and the respondent’s criminal

conviction arising out of the events complained of.” (Ex. E, p. 6.) As already discussed above,

the plaintiff waived his right to contest the decision in UWC I for the reason that he admitted to

the violation and then failed to object to the penalty imposed or to pursue an appeal. Even if the

exhaustion doctrine did not apply, summary judgment should be entered in this count on the

merits. As established in the discussion of Count I above, the plaintiff’s conduct in UWC I --

stuffing a used pizza plate between a woman’s breasts -- constituted sexual misconduct for which

he received formal discipline in the form of probation, sensitivity training, and alcohol training.

Since the plaintiff waived his right to challenge the findings in UWC I, and since in any event

the plaintiff’s conduct clearly involved “sexual misconduct,” the plaintiff cannot prevail on the

breach of contract claim in Count VII(F).

                      g.      The UWC Panel Properly Considered UWC I During Deliberations
                              on Culpability




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       In Count VII(G), the plaintiff alleges that the defendant breached the UWC Procedures

because the UWC Panel relied upon the UWC I proceedings in assessing the plaintiff’s

culpability and discussed those proceedings outside the presence of the plaintiff. (Am. Compl.,

¶¶ 286-292.) The UWC Procedures explicitly state that the panel may take into account a

respondent’s previous formal discipline for other acts of sexual misconduct when considering

culpability. (Ex. E, p. 6; Ex. BB, ¶ 7.)        The plaintiff received and reviewed the UWC

Procedures prior to the hearing, which informed him that the discipline he received as a result of

UWC I could be considered when assessing his culpability in UWC II. (Ex. M, Depo. p. 108-

109.) The UWC Procedures explicitly state that information regarding prior discipline is to be

discussed only during the panel’s deliberations on culpability, which necessarily occurs outside

the presence of the complainant and respondent. (Ex. E, p. 6.) The plaintiff was not precluded

from discussing UWC I during the UWC II hearing, and, in fact, he took the opportunity to

address UWC I in both his response to the Panel report and his appeal from Dean Holloway’s

decision. (Ex. L, O.) Since the UWC Procedures do not require the respondent’s presence while

the Panel considers the respondent’s previous discipline for sexual misconduct, the plaintiff

cannot prevail on Count VII(G).

                      h.      The UWC Panel Properly Considered the Discipline Imposed by
                              the Executive Committee

       In Count VII(H), the plaintiff alleges that Yale breached the UWC Procedures when the

UWC II Panel considered the discipline imposed by the Executive Committee in making its

recommendation for a penalty in UWC II. (Am. Compl., 298-304.) The UWC Procedures

provide: “The Secretary will also describe any formal Yale discipline previously imposed on the

respondent, and the panel may consider this prior discipline in its recommendations regarding a

penalty.” (Emphasis added.) (Ex. E, p. 7; Ex. BB, ¶ 7.) Ms. Menon testified that a written



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reprimand from the Executive Committee constitutes formal discipline and that she was provided

a copy of the written reprimand when she requested the record of the plaintiff’s formal

discipline. (Ex. LL, Depo p. 169-171.) The plaintiff has not offered any evidence indicating that

it was improper for the UWC Panel to consider the written reprimand issued by the Executive

Committee. The plaintiff also argues that Yale “promised Mr. Montague that the reprimand

would only be taken into account if he was subject to another disciplinary proceeding before the

Executive Committee.” (Am. Compl., ¶ 297.) This is inaccurate. The letter to the plaintiff

explicitly stated that the reprimand “would be taken into consideration in determining a penalty

if you should ever again be found by the Executive Committee to have committed an infraction

of the Undergraduate Regulations.” (Ex. X.) Contrary to the plaintiff’s allegations, the letter

does not state that only the Executive Committee would consider the reprimand if the plaintiff

subsequently violated the Undergraduate Regulations. Ms. Menon explained that the reprimand

was a formal disciplinary matter and, therefore, could be considered by the UWC. (Ex. LL,

Depo. p. 169-171.) Indeed, the plaintiff’s Title IX expert testified that it was appropriate under

Yale’s Sexual Misconduct Policies and Title IX for the UWC Panel to consider the plaintiff’s

prior disciplinary history when considering a recommended penalty. (Ex. AA, Depo. p. 87.)

The plaintiff has offered no evidence to dispute that conclusion. Therefore, summary judgment

should enter on Count VII (H).

               5.      The Defendant Conducted the UWC II Proceedings with Basic Fairness

       In Count VIII, the plaintiff claims that the defendants breached a duty to ensure that the

UWC II proceedings were conducted “with basic fairness.” Most of the allegations under Count

VIII are included in the breach of contract claims, and the defendants will not readdress those

allegations here. In addition to allegations included in other counts, the plaintiff claims that the




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defendants failed to provide him with adequate notice of the complaint against him, failed to

provide him an opportunity to respond to the Panel’s recommended sanction in advance of a

final disciplinary decision, and arbitrarily and capriciously expelled him when a reprimand

would have been more appropriate.

           While a “university must provide its students with some minimum level of fair play,” a

private university is not “bound by the requirements of the Sixth Amendment, such as an

accused’s right to be informed of the nature of the charges, the right to counsel, or the right to

confront and cross-examine one’s accuser.” Doe v. Brandeis Univ., supra, 177 F. Supp. 3d at

572. The district court in Brandeis observed: “[A] private university is not a state or local

government, and the courts must recognize and respect the strong interest of a private university

in managing its own affairs.”24 Id. at 602. Quoting Doe v. Brown Univ., 166 F. Supp. 3d 177,

183 (D.R.I. 2016), the court noted that “‘ensuring allegations of sexual assault on college

campuses are taken seriously is of critical importance, and there is no doubt that universities

have an exceedingly difficult task in handling these issues.”’ Id.

           With regard to the adequacy of the notice provided to the plaintiff, the November 18,

2015 UWC complaint informed the plaintiff that a formal complaint of sexual assault was being

filed against him based on a report that he had sexually penetrated Ms. Roe without her consent

on the night of Saturday, October 18, 2014, at the plaintiff’s residence located at 43 Howe Street.

(Ex. A.) Thus, the plaintiff was apprised of the identity of the complaining witness, the date and

location of the incident, and the conduct alleged. This is sufficient notice at the outset of the

proceedings, particularly when the complaint involves a single incident.

           The plaintiff further claims that the defendant failed to provide the plaintiff an

opportunity to respond to and challenge the UWC II Panel’s recommended sanction in advance
24
     The deference to be given to academic disciplinary decisions is fully briefed at pages 9 to 12 of this brief.


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of a final disciplinary decision against him. (Am. Compl., ¶ 308(j).) The UWC Procedures

provide that the complainant and respondent must be provided with the Panel’s findings of fact

and conclusions. (Ex. E, p. 7.) The UWC Procedures notably do not state that the parties will be

provided with the Panel’s recommendations. Indeed, the plaintiff acknowledged in his response

to the UWC II Panel Report that: “I understand that I will not know of the panel’s

recommendation; just of your ultimate decision.”25 (Ex. L, p. 2.) Since the plaintiff was not

entitled under the UWC Procedures to learn of the Panel’s recommendations, the failure to

provide him with that information was not unfair.26

         Finally, the plaintiff alleges that the defendants arbitrarily and capriciously expelled him

when a lesser sanction was more appropriate. (Am. Compl., ¶¶ 308k, 308l.) The UWC II Panel

Report indisputably demonstrates that the decision was not made arbitrarily or capriciously. The

UWC Panel listened to both the plaintiff and Ms. Roe and detailed the key respects in which

their accounts of the incident differed. (Ex. C, p. 3-6.) The UWC Panel deliberated at length

about issues of credibility and determined that Ms. Roe’s account was more credible for a

number of reasons, including the following:

            Ms. Roe provided a full, detailed, and consistent account of the incident which
             was consistent in her written account, her interviews with the fact-finder, and
             her testimony during the hearing.

            The swipe card records supported Ms. Roe’s description of her actions after
             leaving the plaintiff’s house.

            Ms. Roe limited her complaint to a single sexual act during an otherwise
             consensual encounter, rather than alleging that she was incapacitated by
             alcohol during her interaction with the plaintiff on September 24, 2014.

25
  The copy of the UWC II Panel Report provided to the plaintiff is identical to Exhibit C, with the exception that it
does not include the section titled “Recommendation.”
26
  As already discussed above, the plaintiff admitted in his deposition testimony that he could have addressed the
UWC II Panel on the subject of UWC I if he had chosen to do so, and he in fact did address both Dean Holloway
and Provost Polak on that issue when he wrote to them.


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          Ms. Roe had no motivation to be dishonest with her friends, the fact-finder, or
           the panel.
          Ms. Roe sought support from her friends the morning after the incident, called
           the SHARE Center a few days later, and confronted the plaintiff the following
           week.

          The plaintiff selectively remembered only the details that were helpful to him.

          The plaintiff told the fact-finder that Ms. Roe gave verbal consent for
           intercourse, but he told the UWC Panel that she indicated consent through her
           conduct.

(Ex. C, p. 6-9.)

       The plaintiff’s expert Attorney Murphy testified that it was appropriate for the UWC

Panel to consider all of the above factors in determining the parties’ credibility. (Ex. Z, Depo. p.

126-128, 191-192; Ex. AA, Depo. p. 21-22, 75-76.) Attorney Murphy also stated that if the

UWC Panel believed Ms. Roe when she said that she had told the plaintiff three times that she

did not want intercourse, and then, immediately after the intercourse, the plaintiff said, “I’m

sorry, I know you didn’t want that,” the UWC Panel could logically conclude both that Ms. Roe

had not given consent and that the plaintiff was aware that she had not given consent. (Ex. Z,

Depo. p.118-119.)

       As for the recommended penalty, the UWC II Panel found relevant a previous finding

that the plaintiff had violated the Sexual Misconduct Policies and that, at the time of his

encounter with Ms. Roe on October 18, 2014, he was on probation. The Panel also took into

account that the plaintiff had received sensitivity training and counseling on the appropriate use

of alcohol. (Ex. C, p. 9.) The plaintiff admitted at his deposition that he was on probation at the

time of the assault and that he had received sensitivity training and alcohol counseling. (Ex. M,

Depo. p. 157-158.) In regard to the probation, the Yale Undergraduate Regulations provide:

“The commission of a serious offense while on probation will normally result in suspension or



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expulsion.” (Ex. F, p. 16.) The plaintiff acknowledged that sexual intercourse without consent

was a “serious” violation of Yale’s Sexual Misconduct Policies.          (Ex. M, Depo. p. 159.)

Attorney Murphy, the plaintiff’s expert, agreed that intercourse without consent is a “serious”

offense under both Title IX and Yale’s Sexual Misconduct Policies. She also agreed that since

the plaintiff was on probation at the time of his encounter with Ms. Roe, suspension or expulsion

were the most likely sanctions under Yale’s policies. (Ex. AA, Depo. p. 77-79.)

       The plaintiff had also received a reprimand from the Executive Committee for defiance

of authority in connection with the incident in which he interfered with a police investigation.

The UWC II Panel was “deeply concerned by the pattern of behavior by Mr. Montague, and his

failure to take responsibility for and learn from actions that have caused considerable harm to

others.” Although the plaintiff stated that he was sorry if Ms. Roe felt disrespected or harmed,

he then spoke at length about the harm the UWC II complaint had caused his academic and

athletic performance. He also told the UWC II Panel that he was an “ideal student, a role model

at Yale, and had never experienced anything like this before,” which was not consistent with his

two previous violations of Yale regulations. (Ex. C, p. 9-10; Ex. M, Depo. p. 159.) The UWC II

Panel considered all of the foregoing when it recommended expulsion. There was nothing

arbitrary or capricious about its deliberations or its recommendation.

       Given the foregoing, there is no evidence to suggest that the penalty in this case was

inappropriate.   The sanction imposed for any violation of the Sexual Misconduct Policies

depends on the circumstances of each case. While the plaintiff claims that he should have been

given a reprimand rather than a suspension or expulsion, he acknowledged in his deposition that

he was unaware of a single case where the facts were similar to his and the respondent received

only a reprimand. (Ex. M, Depo. p. 189-190.)      In particular, the plaintiff admitted that he was




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unaware of any case in which the UWC ordered a reprimand in a case where it found that the

respondent had penetrated the complainant despite three separate verbal requests that he not do

so. Id. The plaintiff has also proffered no evidence to suggest that a reprimand had ever been

recommended for a respondent who was already on probation for a prior disciplinary matter. In

short, given the strength of the evidence against him, the plaintiff’s failure to accept

responsibility for what he had done, the plaintiff’s failure to reform his conduct following his

previous disciplinary infractions, and the explicit statement of the Yale Undergraduate

Regulations that the expected penalty would be suspension or expulsion, there was nothing

unfair, capricious, or arbitrary about the expulsion of the plaintiff in this case.

        As discussed above on pages 9 to 12 of this brief, courts have recognized the need to give

a university broad discretion to decide student disciplinary sanctions and the jury in this case

should not be allowed to substitute its judgment for that of the UWC Panel and the Dean of Yale

College. An intervention in Yale’s processes would be particularly inappropriate given the

absence of any evidence to support the plaintiff’s claim that, in similar cases, the penalty has

been limited to a reprimand. Accordingly, the plaintiff cannot prevail on his claim that the UWC

II proceedings were conducted “without basic fairness.”

IV.     Conclusion

        For the reasons stated, the Motion for Summary Judgment should be granted.




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                                                     THE DEFENDANTS


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                                       CERTIFICATION


        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.



                                                     _______________/s/________________
                                                              Patrick M. Noonan




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